         Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 1 of 69 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    DANIEL COZZA, individually and on behalf of            Case No.:
    all others similarly situated,

                        Plaintiff,

    v.                                                     DEMAND FOR JURY TRIAL

    BANSLEY AND KIENER, L.L.P.,

                        Defendant.


                                     CLASS ACTION COMPLAINT

           Plaintiff Daniel Cozza (“Plaintiff”), individually and on behalf of the proposed Classes

defined herein, alleges the following against Bansley and Kiener, L.L.P. (“B&K” or “Defendant”)

based upon personal knowledge, experience, information, and belief, including investigation

conducted by their attorneys and review of public documents as to all other matters.

                                     I.    NATURE OF THE CASE

           1.     In a recent Executive Order, President Joe Biden reaffirmed that “[t]he United

States faces persistent and increasingly sophisticated malicious cyber campaigns that threaten the

public sector, the private sector, and ultimately the American people’s security and privacy.”1

Among other things, the Order noted:

                  The private sector must adapt to the continuously changing threat
                  environment, ensure its products are built and operate securely, and
                  partner with the Federal Government to foster a more secure
                  cyberspace. In the end, the trust we place in our digital infrastructure
1
     https://www.whitehouse.gov/briefing-room/presidential-actions/2021/05/12/executive-order-
     on-improving-the-nations-cybersecurity/ (last accessed Dec. 21, 2021).



564689.1
           Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 2 of 69 PageID #:2




                  should be proportional to how trustworthy and transparent that
                  infrastructure is, and to the consequences we will incur if that trust
                  is misplaced.2

            2.    Plaintiff brings this class action case against Defendant for its failures to secure and

safeguard the private and sensitive information it collected, maintained, stored, analyzed, and used

to provide its services. That information includes, but is not limited to, personally identifiable

information (“PII”) such as full names and Social Security numbers of over 274,115 individuals,3

and unsecured protected health information (“PHI”) of approximately 70,941 individuals4

(collectively, “Sensitive Information”).

            3.    Armed with the Sensitive Information acquired in the Data Breach, data thieves are

able to commit numerous crimes including opening new financial accounts in Class members’

names, taking out loans in Class members’ names, using Class members’ names to obtain medical

services, using Class members’ information to obtain government benefits, filing fraudulent tax

returns using Class members’ information, obtaining driver’s licenses in Class members’ names

but with another person’s photograph, and giving false information to police during an arrest.

            4.    As a result of the Data Breach, Plaintiff and Class members have been exposed to

a present and continuing risk of fraud and identity theft. Plaintiff and Class members must now

and in the future closely monitor their financial accounts to guard against identity theft.

            5.    Plaintiff and Class members will also incur out-of-pocket costs for things such as

paying for credit monitoring services, credit freezes, credit reports, or other protective measures

to deter and detect identity theft.

2
     Id.
3
    Office of the Maine Attorney General, Data Breach Notifications,
     https://apps.web.maine.gov/online/aeviewer/ME/40/36b0a9a6-30c4-4942-9095-
     aaf86cfba741.shtml (Last accessed December 21, 2021.)
4
    See https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed Dec. 21, 2021)


564689.1                                             2
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 3 of 69 PageID #:3




           6.    Plaintiff seeks to remedy these harms on behalf of himself and all similarly situated

individuals whose Sensitive Information was accessed during the Data Breach.

           7.    Plaintiff and the Class seek remedies including damages, reimbursement of out-of-

pocket costs, and equitable and injunctive relief, including improvements to Defendant’s data

security systems, future annual audits, and identity protection services funded by Defendant.

                                          II.     PARTIES

           8.    Plaintiff Daniel Cozza is resident of the state of Missouri. Mr. Cozza received a

Notice of Data Breach from Defendant dated November 24, 2021.

           9.    Defendant Bansley and Kiener, L.L.P. is an Illinois limited liability partnership.

Defendant’s principal place of business is located at 8745 West Higgins Road, Suite 200, Chicago,

IL 60631. B&K is a full-service CPA and advisory firm, delivering accounting, tax, consulting,

and assurance services to businesses of all sizes.

                              III.    JURISDICTION AND VENUE

           10.   This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1331(d)(2). The amount in controversy exceeds $5 million exclusive of

interest and costs. There are more than 100 putative class members, and at least some members

have a different citizenship from Defendant.

           11.   This Court has personal jurisdiction over Defendant because B&K is an Illinois

limited liability partnership and maintains its principal place of business in Chicago, Illinois; its

nerve center, including its CEO, is in Illinois; it regularly conducts business in Illinois; and it has

sufficient minimum contacts in Illinois. Defendant intentionally availed itself of this jurisdiction

by providing services and by accepting and processing payments for those services within Illinois.




564689.1                                           3
        Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 4 of 69 PageID #:4




           12.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because B&K’s

principal place of business is in this District and a substantial part of the events, acts, and omissions

giving rise to Plaintiff’s claims occurred in this District. Further, venue is proper under 28 U.S.C.

§ 1391(b)(3) because Defendant is subject to personal jurisdiction in this District.

                               IV.     FACTUAL ALLEGATIONS

A.         Background

           13.   Defendant Bansley & Kiener, L.L.P is a full-service CPA and advisory firm based

in Chicago, Illinois. It provides accounting, tax, consulting, and assurance services to businesses

of all sizes, and conducts compliance engagements for benefit plans—including, but not limited

to, health and pension plans. To provide these services, Defendant collects, maintains, stores,

analyzes, and uses Sensitive Information belonging to Plaintiff and Class Members.

           14.   Because Defendant collects, maintains, stores, analyzes, and uses Sensitive

Information, Defendant was and is legally required to protect the Sensitive Information in its

possession from unauthorized access and acquisition.

           15.   However, Defendant failed to implement reasonable, adequate, and industry

standard security measures on its IT network where it stored and maintained Sensitive Information,

thus allowing an unauthorized party to access and steal Plaintiff’s and other individuals’ Sensitive

Information. To make matters worse, Defendant failed to timely notify impacted individuals.

B.         The Data Breach

           16.   Between August 20 and December 1, 2020, an unauthorized party (or parties)

accessed and stole Sensitive Information belonging to Plaintiff and Class Members from

Defendant’s computer systems (the “Data Breach).5


5
    Office of the Maine Attorney General, Data Breach Notifications, supra note 3.


564689.1                                           4
        Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 5 of 69 PageID #:5




           17.   On or about December 10, 2020—three months after the unauthorized access

began—Defendant identified an incident on its computer system containing the Sensitive

Information belonging to Plaintiff and other impacted individuals (“Class Members”).6

           18.   On May 24, 2021, Defendant realized data had been exfiltrated during the Data

Breach.

           19.   Fifteen months after the Data Breach was discovered, Defendant publicly

acknowledged the data security incident to state attorneys general in late November 2021.

           20.   Also on or about November 30, 2021—fifteen months after the Data Breach began,

and eleven months after the Data Breach was discovered—Defendant began notifying affected

individuals, including Plaintiff and Class Members, of the Data Breach.7

           21.   According to Defendant, the unauthorized party had access to its server containing

Sensitive Information for three months before Defendant noticed the unauthorized access.8

           22.   Defendant failed explain why it took three months to notice and/or realized an

unauthorized party had access to its network, or why it waited another fifteen months to begin

notifying Plaintiff and Class Members of the Data Breach.

           23.   Plaintiff and Class Members had their Sensitive Information accessed and stolen

by an unauthorized party due to Defendant’s acts and omissions and its failure to properly protect

the Sensitive Information it collected, maintained, analyzed, and used.




6
    See http://www.bk-cpa.com/data-security-incident-notice/ (last accessed Dec. 21, 2021).
7
    Office of the Maine Attorney General, Data Breach Notifications, supra note 3.
8
    Office of the Maine Attorney General, Copy of notice,
     https://apps.web.maine.gov/online/aeviewer/ME/40/36b0a9a6-30c4-4942-9095-
     aaf86cfba741/eebb91ba-baca-4b6d-a159-3a63996e166e/document.html (last accessed
     Dec. 21, 2021)


564689.1                                         5
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 6 of 69 PageID #:6




           24.   Defendant should have prevented this Data Breach. Data breaches are a well-known

and well publicized problem, thus providing notice to Defendant that the Sensitive Information in

its possession could be targeted by unauthorized parties, or “hackers.” The Data Breach was the

inevitable result of Defendant’s inadequate approach and/or attention to data security and

protection of the Sensitive Information it collects, maintains, analyzes, and uses to generate reports

in the normal course of business.

           25.   Defendant disregarded the rights of Plaintiff and Class Members by recklessly,

and/or negligently failing to implement industry standard security measures or otherwise take

adequate and reasonable measures to ensure protection of its data systems; by failing to disclose

the material fact that Defendant did not have adequate computer security systems and practices to

safeguard the Sensitive Information it collected, maintained, analyzed, and used; and by failing to

take available steps to prevent and stop the breach from ever happening; and failing to monitor

and detect the breach in a timely manner.

           26.   As a result of the Data Breach, Plaintiff’s and Class Members’ Sensitive

Information was exposed to and acquired by unauthorized parties—criminals—for misuse,

identity theft, and other fraudulent activities. The exfiltrated Sensitive Information is likely already

being used by unauthorized part(ies) to commit identity theft, including applying for credit cards,

taking out loans, and leasing equipment. The injuries suffered, or likely to be suffered by Plaintiff

and Class Members as a direct result of Defendant’s Data Breach include, but are not limited to:

                 a.     Theft of their personal and financial information;

                 b.     Costs associated with the detection and prevention of identity theft and

                        unauthorized use of their financial accounts;

                 c.     Damages arising from the inability to use their own Sensitive Information;




564689.1                                           6
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 7 of 69 PageID #:7




              d.     Restricted or inability to access their account funds, including the costs and

                     fees associated with inability and/or restrictions on obtaining funds from

                     their accounts or limits on the amount of money they were permitted to

                     obtain from their accounts, including missed payments on bills and loans,

                     late charges and fees, and adverse effects on their credit including decreased

                     credit scores and adverse credit notations;

              e.     Costs, including lost opportunity costs, associated with time spent and the

                     loss of productivity or the enjoyment of one’s life from taking time to

                     address and attempt to ameliorate, mitigate, and deal with the actual and

                     future consequences of the Data Breach, including finding fraudulent

                     charges, purchasing credit monitoring and identity theft protection services,

                     and the stress, nuisance, and annoyance of dealing with all issues resulting

                     from the Data Breach;

              f.     The imminent and certainly impending injury flowing from potential fraud

                     and identify theft posed by their Sensitive Information being placed in the

                     hands of criminals;

              g.     The continued risk to Plaintiff’s and Class Members’ Sensitive Information

                     in Defendant’s possession, which remains accessible to Defendant and

                     subject to further breaches so long as Defendant fails to undertake

                     appropriate, reasonable, industry standard, and commercially available

                     measures to protect the Sensitive Information in its possession; and

              h.     The loss of Plaintiff’s and Class Members’ privacy.




564689.1                                       7
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 8 of 69 PageID #:8




           27.    The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendant’s failure to implement and/or maintain adequate data security measures for the

Sensitive Information it collects, maintains, analyzes, and uses in the normal course of business.

           28.    Additionally, Plaintiff and Class Members retain a significant interest in ensuring

their Sensitive Information, which—despite being accessed and acquired by an unauthorized party

over a period of three months—remains in the possession of Defendant, is protected from further

access and acquisition by unauthorized individuals and breaches, and seeks to remedy the harms

he has suffered, and will continue to suffer, on behalf of himself and similarly situated individuals

whose Sensitive Information was accessed and acquired by an unauthorized party as a result of

Defendant’s Data Breach.

           29.    Plaintiff brings this action to remedy these harms on behalf of himself and all

similarly situated individuals whose Sensitive Information was accessed and acquired by an

unauthorized party during the Data Breach. Accordingly, Plaintiff, on behalf of himself and Class

Members, asserts claims for (1) negligence; (2) negligence per se; (3) breach of contracts to which

Plaintiff and Class Members are third–party beneficiaries; (4) breach of implied contracts;

(5) unjust enrichment; (6) common law unfair competition; (7) declaratory and injunctive relief;

(8) violation of the Illinois Consumer Fraud Act; (9) violation of the Illinois Uniform Deceptive

Trade Practices Act; and (10) violation of the Missouri Merchandising Practices Act. Plaintiff

seeks the following remedies, among others: injunctive relief, declaratory relief, monetary

damages, and all other relief as authorized in equity or by law.

C.         Plaintiff’s Experience

           30.    Plaintiff Daniel Cozza is a resident of the state of Missouri. Plaintiff Cozza received

notice from Defendant that it improperly exposed his name and Social Security number to an

unknown third party. After receiving the notice, Plaintiff Cozza checked his accounts for any signs


564689.1                                            8
         Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 9 of 69 PageID #:9




of fraud. Plaintiff Cozza will continue to monitor his financial and other accounts. This is time

Plaintiff Cozza otherwise would have spent performing other activities, such as his job and/or

leisurely activities for the enjoyment of life, which is now lost forever and cannot be recaptured.

           31.   Knowing that thieves stole his Sensitive Information, including his Social Security

number, and knowing that his Sensitive Information will likely be sold on the dark web, has caused

Plaintiff Cozza great anxiety. He is now very concerned about theft of his identity and financial

fraud.

           32.   Plaintiff Cozza suffered actual injury from having his Sensitive Information

exposed and stolen as a result of the Data Breach including, but not limited to: (a) damages to and

diminution in the value of his Sensitive Information—a form of intangible property in Defendant’s

possession; (b) loss of his privacy; (c) ongoing, imminent and impending injury arising from the

increased risk of fraud and identity theft; and (d) the time and expense of mitigation efforts

resulting from the Data Breach.

           33.   As a result of the Data Breach, Plaintiff Cozza will continue to be at heightened

risk for financial fraud, medical fraud, and identity theft, and the attendant damages, for years to

come.

           34.   Plaintiff Cozza has a continuing interest in ensuring his Sensitive Information,

which upon information and belief remains in the possession of Defendant, is protected and

safeguarded from future data breaches.

D.         Defendant Acquires, Collects, Maintains, and Stores Plaintiff’s and Class Members’
           Sensitive Information.

           35.   Defendant acquires, collects, and stores massive amounts of Sensitive Information

in order to provide its services. By obtaining, collecting, using, and deriving a benefit from

Plaintiff’s and Class Members’ Sensitive Information, Defendant assumed legal and equitable



564689.1                                          9
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 10 of 69 PageID #:10




duties, and knew or should have known it was responsible for protecting Plaintiff’s and Class

Members’ Sensitive Information from unauthorized disclosure.

           36.   Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their Sensitive Information. Plaintiff and Class Members relied on Defendant to

keep their Sensitive Information confidential and securely maintained, to use this information for

business purposes only, and to make only authorized disclosures of this information.

E.         The Value of Sensitive Information and the Effects of Unauthorized Disclosure.

           37.   The number of U.S. data breaches surpassed 1,000 in 2016, a record high and a

forty percent increase in the number of data breaches from the previous year.9 In 2017, a new

record high of 1,579 breaches were reported representing a 44.7 percent increase.10 That trend

continues.

           38.   Defendant was well aware the Sensitive Information it collects is highly sensitive

and of significant value to those who would use it for wrongful purposes.

           39.   Sensitive Information is a valuable commodity to identity thieves. As the Federal

Trade Commission (“FTC”) recognizes, Sensitive Information identity thieves can commit an

array of crimes including identify theft, medical and financial fraud.11 Indeed, a robust “cyber




9   Identity Theft Resource Center, Data Breaches Increase 40 Percent in 2016, Finds New
     Report From Identity Theft Resource Center and CyberScout (Jan. 19, 2017),
     https://www.idtheftcenter.org/post/data-breaches-increase-40-percent-in-2016-finds-new-
     report-from-identity-theft-resource-center-and-cyberscout/ (last accessed Dec. 21, 2021).
10   Identity Theft Resource Center, 2017 Annual Data Breach Year-End Review, available at:
     https://www.idtheftcenter.org/wp-
     content/uploads/images/breach/2017Breaches/2017AnnualDataBreachYearEndReview.pdf
     (last accessed Dec. 21, 2021).
11   Federal Trade Commission, What to Know About Identity Theft, available at:
     https://www.consumer.ftc.gov/articles/what-know-about-identity-theft (last accessed Dec. 21,
     2021).


564689.1                                         10
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 11 of 69 PageID #:11




black market” exists where criminals openly post stolen Sensitive Information on multiple

underground Internet websites, commonly referred to as the dark web.

           40.   For example, when the U.S. Department of Justice announced its seizure of

AlphaBay in 2017, AlphaBay had more than 350,000 listings, many of which concerned stolen or

fraudulent documents that could be used to assume another person’s identity. Other marketplaces,

similar to the now–defunct AlphaBay,

                 are awash with [PII] belonging to victims from countries all over the
                 world. One of the key challenges of protecting PII online is its
                 pervasiveness. As data breaches in the news continue to show, PII
                 about employees, customers and the public is housed in all kinds of
                 organizations, and the increasing digital transformation of today’s
                 businesses only broadens the number of potential sources for
                 hackers to target.12

           41.   Consumers’ Sensitive Information remains of high value to criminals, as evidenced

by the prices they will pay through the dark web. Numerous sources cite dark web pricing for

stolen identity credentials. For example, personal information can be sold at a price ranging from

$40 to $200, and bank details have a price range of $50 to $200.13 Experian reports that a stolen

credit or debit card number can sell for $5 to $110 on the dark web.14 Sensitive Information has




12
     Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, Armor, April 3, 2018,
     available at: https://www.armor.com/resources/blog/stolen-pii-ramifications-identity-theft-
     fraud-dark-web/ (last accessed Dec. 21, 2021).
13
     Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
     16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-
     dark-web-how-much-it-costs/ (last accessed Dec. 21, 2021).
14
     Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
     6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
     personal-information-is-selling-for-on-the-dark-web/ (last accessed Dec. 21, 2021).



564689.1                                          11
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 12 of 69 PageID #:12




also been valued on the dark web at approximately $1 per line of information.15 Alternatively,

criminals are able to purchase access to entire company data breaches for $900 to $4,500.16

           42.   Individuals also rightfully place a high value not only on their Sensitive

Information, but also on the privacy of that data. Researchers have already begun to shed light on

how much individuals value their data privacy—and the amount is considerable. One study on

website privacy determined that U.S. consumers valued the restriction of improper access to their

personal information between $11.33 and $16.58 per website. The study also determined that

“[a]mong U.S. subjects, protection against errors, improper access, and secondary use of personal

information is worth US$30.49 – $44.62.”17 This study was done in 2002, almost twenty years

ago. The sea-change in how pervasive the Internet is in everyday lives since then indicates that

these values—when associated with the loss of Sensitive Information to bad actors—would be

exponentially higher today.

           43.   Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are difficult

for an individual to change. The Social Security Administration stresses the loss of an individual’s

Social Security number, as is the case here, can lead to identity theft and extensive financial fraud.

           44.   A dishonest person who has your Social Security number can use it to get other

personal information about you. Identity thieves can use your number and your good credit to

15
     https://www.pacetechnical.com/much-identity-worth-black-
     market/#:~:text=Personally%20identifiable%20information%20is%20sold,at%20a%20fast%2
     0food%20joint (last accessed Dec. 21, 2021).
16
     In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
     browsing/in-the-dark/ (last accessed Dec. 21, 2021).
17
     Hann, Hui, et al, The Value of Online Information Privacy: Evidence from the USA and
     Singapore, at 17. Oct. 2002, available at
     https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf (last accessed Dec. 21, 2021).



564689.1                                         12
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 13 of 69 PageID #:13




apply for more credit in your name. Then, they use the credit cards and do not pay the bills, which

damages your credit. You may not find out that someone is using your number until you are turned

down for credit, or you begin to get calls from unknown creditors demanding payment for items

you never bought. Someone illegally using your Social Security number and assuming your

identity can cause a lot of problems.18

           45.   The ramifications of Defendant’s failure to keep Plaintiff’s and Class Members’

Sensitive Information secure are long lasting and severe. Because many of the data points stolen

are persistent—for example, Social Security numbers and names—criminals who purchase the

Sensitive Information belonging to Plaintiff and Class Members do not need to use the information

to commit fraud immediately. The Sensitive Information can be used or sold for use years later,

and as such Plaintiff and Class Members will remain at risk for identity theft indefinitely.

           46.   What is more, it is no easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. In other words, preventive action to defend against the possibility of

misuse of a Social Security number is not permitted; an individual must show evidence of actual,

ongoing fraud activity to obtain a new number.

           47.   Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center, “The credit bureaus and banks are able to link the

new number very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.”19 The Social Security Administration concurs, warning:


18
     Social Security Administration, Identity Theft and Your Social Security Number, available at:
     https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Dec. 21, 2021).
19
     Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
     (Feb. 9, 2015), available at: http://www.npr.org/2015/02/09/384875839/data-stolen-by-
     anthem-s-hackers-has-millionsworrying-about-identity-theft (last accessed Dec. 21, 2021).


564689.1                                          13
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 14 of 69 PageID #:14




                 Keep in mind that a new number probably will not solve all your
                 problems. This is because other governmental agencies (such as the
                 IRS and state motor vehicle agencies) and private businesses (such
                 as banks and credit reporting companies) likely will have records
                 under your old number. Along with other personal information,
                 credit reporting companies use the number to identify your credit
                 record. So using a new number will not guarantee you a fresh start.
                 This is especially true if your other personal information, such as
                 your name and address, remains the same . . . .

                 For some victims of identity theft, a new number actually creates
                 new problems. If the old credit information is not associated with
                 your new number, the absence of any credit history under the new
                 number may make more difficult for you to get credit.20

           48.   Because of this, the information compromised in the Data Breach here is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change. The Sensitive Information compromised in the Data Breach demands a much higher price

on the black market. Martin Walter, senior director at cybersecurity firm RedSeal, explained,

“Compared to credit card information, personally identifiable information and Social Security

numbers are worth more than 10 times on the black market.”21

           49.   Once Sensitive Information is sold, it is often used to gain access to various areas

of the victim’s digital life, including bank accounts, social media, credit card, and tax details. This

can lead to additional Sensitive Information being harvested from the victim, as well as Sensitive

Information from family, friends, and colleagues of the original victim.


20
     SSA, Identity Theft and Your Social Security Number, SSA Publication No. 05-10064 (Dec.
     2013), available at: http://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Dec. 21, 2021).
21
     Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
     Numbers, IT World, (Feb. 6, 2015), available at:
     https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-
     10x-price-of-stolen-credit-card-numbers.html (last accessed Dec. 21, 2021).


564689.1                                          14
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 15 of 69 PageID #:15




           50.   According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet–enabled crimes reached their highest number of complaints and dollar losses in

2019, resulting in more than $3.5 billion in losses to individuals and business victims. Further,

according to the same report, “rapid reporting can help law enforcement stop fraudulent

transactions before a victim loses the money for good.”22

           51.   Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

           52.   Data breaches facilitate identity theft as hackers obtain consumers’ Sensitive

Information and thereafter use it to siphon money from current accounts, open new accounts in the

names of their victims, or sell consumers’ Sensitive Information to others who do the same.

           53.   For example, the United States Government Accountability Office noted in a June

2007 report on data breaches (the “GAO Report”) that criminals use Sensitive Information to open

financial accounts, receive government benefits, and make purchases and secure credit in a

victim’s name.23 The GAO Report further notes that this type of identity fraud is the most harmful

because it may take some time for a victim to become aware of the fraud, and can adversely impact

the victim’s credit rating in the meantime. The GAO Report also states identity theft victims will




22
     FBI, 2019 Internet Crime Report Released, Data Reflects an Evolving Threat and the
     Importance of Reporting (Feb. 11, 2020), available at:
     https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120 (last accessed
     Dec. 21, 2021).
23
     See Government Accountability Office, Personal Information: Data Breaches are Frequent,
     but Evidence of Resulting Identity Theft is Limited; However, the Full Extent is Unknown
     (June 2007), https://www.gao.gov/assets/gao-07-737.pdf (last accessed Dec. 21, 2021).



564689.1                                         15
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 16 of 69 PageID #:16




face “substantial costs and inconveniences repairing damage to their credit records . . . [and their]

good name.”24

           54.   Additionally, the frequency of cyberattacks has increased significantly in recent

years.25 In fact, “Cyberattacks rank as the fastest growing crime in the US, causing catastrophic

business disruption. Globally, cybercrime damages are expected to reach US $6 trillion by 2021.”26

           55.   Cybersecurity Ventures, a leading researcher on cybersecurity issues,

                 expects global cybercrime costs to grow by 15 percent per year over
                 the next five years, reaching $10.5 trillion USD annually by 2025,
                 up from $3 trillion USD in 2015. This represents the greatest transfer
                 of economic wealth in history, risks the incentives for innovation
                 and investment, is exponentially larger than the damage inflicted
                 from natural disasters in a year, and will be more profitable than the
                 global trade of all major illegal drugs combined.27

           56.   As noted in recent reports by Deloitte and Interpol, cyberattacks have greatly

increased in the wake of the COVID-19 pandemic.28

           57.   At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding Sensitive Information and of the foreseeable consequences if its data


24
     Id.
25
     See https://www.accenture.com/_acnmedia/PDF-96/Accenture-2019-Cost-of-Cybercrime-
     Study-Final.pdf (last accessed Dec. 21, 2021).
26
     https://www.isaca.org/resources/news-and-trends/industry-news/2020/top-cyberattacks-of-
     2020-and-how-to-build-cyberresiliency (last accessed Dec. 21, 2021) (citing Cybersecurity
     Ventures, https://cybersecurityventures.com/hackerpocalypse-cybercrime-report-2016).
27
     Cybercrime Magazine, Cybercrime To Cost The World $10.5 Trillion Annually By 2020,
     Nov. 13, 2020, https://cybersecurityventures.com/hackerpocalypse-cybercrime-report-2016
     (last accessed Dec. 21, 2021).
28
     Deloitte, Impact of COVID-19 on Cybersecurity,
     https://www2.deloitte.com/ch/en/pages/risk/articles/impact-covid-cybersecurity.html (last
     accessed Dec. 21, 2021); Interpol, Cyberthreats are constantly evolving in order to take
     advantage of online behaviour and trends. The COVID-19 outbreak is no exception,
     https://www.interpol.int/en/Crimes/Cybercrime/COVID-19-cyberthreats (last accessed
     Dec. 21, 2021).



564689.1                                          16
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 17 of 69 PageID #:17




security systems were breached, including the significant costs that would be imposed on Plaintiff

and the Class as a result of a breach.

F.         Defendant Failed to Comply with FTC Guidelines.

           58.   The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses highlighting the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.29

           59.   In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cybersecurity guidelines for businesses.30 The guidelines

note businesses should protect the personal customer information they keep; properly dispose of

personal information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.

           60.   The FTC further recommends companies not maintain Sensitive Information longer

than is needed for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify third-party service providers have implemented reasonable

security measures.31




29 Federal Trade Commission, Start With Security, available at:
   https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf
   (last accessed Dec. 21, 2021).
30 Federal Trade Commission, Protecting Personal Information: A Guide for Business, available

   at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
   information.pdf (last accessed Dec. 21, 2021).
31 FTC, Start With Security, supra note 29.



564689.1                                       17
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 18 of 69 PageID #:18




           61.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

           62.   Defendant failed to properly implement basic data security practices—including

but not limited to maintaining Sensitive Information longer than needed for authorization of a

transaction. Defendant’s failure to employ reasonable and appropriate measures to protect against

unauthorized access to clients’ and/or Plaintiff’s and Class Members’ Sensitive Information

constitutes an unfair act or practice prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

           63.   Defendant was at all times fully aware of its obligation to protect client’s and/or

Plaintiff’s and Class Members’ Sensitive Information because of its position as a business in the

financial sector and employer. Defendant was also aware of the significant repercussions that

would result from its failure to do so.

G.         The Health-Related Information Is Particularly Sought After By Hackers.

           64.   Defendant had knowledge and understood that unprotected or exposed PHI in the

care of companies, such as Defendant, is valuable and highly sought after by nefarious third parties

seeking to illegally monetize it by unauthorized accessing of it. For example, the healthcare sector

reported the second largest number of breaches among all measured sectors in 2018, with the

highest rate of exposure per breach.32 Indeed, when compromised, healthcare-related data is

among the most sensitive and personally consequential.


32
     Identity Theft Resource Center, 2018 End-of-Year Data Breach Report, available at:



564689.1                                         18
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 19 of 69 PageID #:19




           65.   A report focusing on health care related data breaches found the “average total cost

to resolve an identity theft-related incident . . . came to about $20,000,” and that the victims were

often forced to pay out-of-pocket costs for healthcare they did not receive in order to restore

coverage.33 Almost 50 percent of the victims lost their healthcare coverage as a result of the

incident, while nearly 30 percent said their insurance premiums went up after the event. Forty

percent of the customers were never able to resolve their identity theft at all. Data breaches and

identity theft have a crippling effect on individuals and detrimentally impact the economy as a

whole.34

           66.   As a business collecting, maintaining, storing, and using healthcare information,

Defendant knew, or should have known, the importance of safeguarding the Sensitive Information

entrusted to it and of the foreseeable consequences if its data security systems were breached. This

includes the significant costs that would be imposed on Plaintiff and Class Members as a result of

a breach. Defendant failed, however, to take adequate cybersecurity measures to protect the

Sensitive Information in its possession or to prevent the Data Breach from occurring.

H.         Defendant Failed to Comply with Industry Standards to Safeguard Healthcare
           Related Information.

           67.   The Department of Health and Human Services’ Office for Civil Rights (“DHHS”)

notes:


     https://www.idtheftcenter.org/2018-data-breaches/ (last accessed Sept. 21, 2021), also
     available at:
     https://webcache.googleusercontent.com/search?q=cache:GdCeEaa4FmoJ:https://www.idtheft
     center.org/2018-data-breaches/%3Fs%3D+&cd=6&hl=en&ct=clnk&gl=us (last accessed
     Dec. 21, 2021)
33
     Elinor Mills, Study: Medical identity theft is costly for victims, CNET (March 3, 2010),
     available at: https://www.cnet.com/news/study-medical-identity-theft-is-costly-for-victims/
     (last accessed Dec. 21, 2021).
34
     Id.



564689.1                                          19
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 20 of 69 PageID #:20




                 While all organizations need to implement policies, procedures, and
                 technical solutions to make it harder for hackers to gain access to
                 their systems and data, this is especially important in the healthcare
                 industry. Hackers are actively targeting healthcare organizations, as
                 they store large quantities of highly sensitive and valuable data.35

           68.   DHHS highlights several basic cybersecurity safeguards that can be implemented

to improve cyber resilience that require a relatively small financial investment, yet can have a

major impact on an organization’s cybersecurity posture including: (a) the proper encryption of

Sensitive Information; (b) educating and training employees on how to protect Sensitive

Information; and (c) correcting the configuration of software and network devices.

           69.   Private cybersecurity firms have also promulgated similar best practices for

companies with PHI to bolster cybersecurity and protect against the unauthorized disclosure of

information.

           70.   In light of the abundance and availability of information regarding cybersecurity

best practices to safeguard PHI, Defendant should have implemented them. These best practices

were known, or should have been known by Defendant, whose failure to heed and properly

implement them directly led to the Data Breach and the unlawful exposure the Sensitive

Information—including the PHI—in its possession.

I.         Plaintiff’s and Class Members’ Sensitive Information Was Also Subject to a
           Ransomware Attack—a Distinct Form of Data Breach

           71.   A ransomware attack is a type of malicious software that blocks access to

a computer system or data, usually by encrypting it, until the owner pays a fee to the perpetrator.

           72.   Ransomware attacks are considered a breach under the HIPAA Rules because there

is an access of PHI not permitted under the HIPAA Privacy Rule:

35   HIPAA Journal, Cybersecurity Best Practices for Healthcare Organizations,
     https://www.hipaajournal.com/important-cybersecurity-best-practices-for-healthcare-
     organizations/ (last accessed Dec. 21, 2021).


564689.1                                          20
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 21 of 69 PageID #:21




                 A breach under the HIPAA Rules is defined as, “. . . the acquisition,
                 access, use, or disclosure of PHI in a manner not permitted under
                 the [HIPAA Privacy Rule] which compromises the security or
                 privacy of the PHI.” See 45 C.F.R. 164.40.

           73.   Also, in a ransomware advisory, the Department of Health and Human Services

informed entities covered by HIPAA that “when electronic protected health information (ePHI) is

encrypted as the result of a ransomware attack, a breach has occurred because the ePHI encrypted

by the ransomware was acquired (i.e., unauthorized individuals have taken possession or control

of the information).”36

           74.   Ransomware attacks also constitute data breaches in the traditional sense. For

example, in a ransomware attack on the Florida city of Pensacola, and while the City was still

recovering from the ransomware attack, hackers released 2GB of data files from the total 32GB of

data that they claimed was stolen prior to encrypting the City’s network with the maze ransomware.

In the statement given to a news outlet, the hackers said, “This is the fault of mass media who

writes that we don’t exfiltrate data . . . .”37

           75.   Other security experts agree that when a ransomware attack occurs, a data breach

does as well, because such an attack represents a loss of control of the data within a network.38




36
     See Fact Sheet: Ransomware and HIPAA, Health and Human Services,
     https://www.hhs.gov/sites/default/files/RansomwareFactSheet.pdf (last accessed Dec. 22,
     2021).
37
     Pensacola Ransomware: Hackers Release 2GB Data as a Proof, Cisomag (Dec. 27, 2019),
     https://www.cisomag.com/pensacola-ransomware-hackers-release-2gb-data-as-a-proof/
     (emphasis added) (last accessed Dec. 22, 2021).
38
     See Sung J. Choi et al., Data Breach Remediation Efforts and Their Implications for Hospital
     Quality, 54 Health Services Research 971, 971-980 (2019), available at
     https://onlinelibrary.wiley.com/doi/full/10.1111/1475-6773.13203 (last accessed Dec. 22,
     2021).



564689.1                                          21
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 22 of 69 PageID #:22




           76.   Ransomware attacks are also Security Incidents under HIPAA because they impair

both the integrity (data is not interpretable) and availability (data is not accessible) of patient health

information:

                 The presence of ransomware (or any malware) on a covered entity’s
                 or business associate’s computer systems is a security incident under
                 the HIPAA Security Rule. A security incident is defined as the
                 attempted or successful unauthorized access, use, disclosure,
                 modification, or destruction of information or interference with
                 system operations in an information system. See the definition of
                 security incident at 45 C.F.R. 164.304. Once the ransomware is
                 detected, the covered entity or business associate must initiate its
                 security incident and response and reporting procedures. See 45
                 C.F.R.164.308(a)(6).39

           77.   The ransomware attack on Defendant included Plaintiff’s and Class Members’

Sensitive Information stored on Defendant’s computer system. As part of the Defendant’s notice

to Plaintiff and Class Members about the Data Breach, Defendant stated the breach included

encryption of its systems by the unauthorized actor. Therefore, an unauthorized party now

possesses Plaintiff’s and Class Members’ Sensitive Information because, as previously stated, even

if Defendant or the unauthorized party claims the exfiltrated data was deleted, “Proof of deletion

is not a thing.”40

J.         Plaintiff and Class Members Suffered Damages.

           78.   The ramifications of Defendant’s failure to keep Plaintiff’s and the Class’s

Sensitive Information secure are long lasting and severe. Once Sensitive Information is stolen,




39
     Supra, note 36.
40
     See Keith Mukai, ArbiterSports Was Hacked. Don’t Use Them Ever Again, Medium (Aug. 29,
     2020), https://medium.com/@kdmukai_64726/arbitersports-was-hacked-dont-use-them-ever-
     again-fddea92bcd21 (last accessed Dec. 22, 2021)



564689.1                                           22
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 23 of 69 PageID #:23




fraudulent use of that information and damage to victims may continue for years. Consumer

victims of data breaches are more likely to become victims of identity fraud.41

           79.   The Sensitive Information belonging to Plaintiff and Class Members is private,

sensitive in nature, and was left inadequately protected by Defendant, who did not obtain

Plaintiff’s or Class Members’ consent to disclose their Sensitive Information to any other person

as required by applicable law and industry standards.

           80.   The Data Breach was a foreseeable direct and proximate result of Defendant’s

failure to:

                 a.     properly safeguard and protect Plaintiff’s and Class Members’ Sensitive

                        Information from unauthorized access, use, and disclosure, as required by

                        various state and federal regulations, industry practices, and common law;

                 b.     establish and implement appropriate administrative, technical, and physical

                        safeguards to ensure the security and confidentiality of Plaintiff’s and Class

                        Members’ Sensitive Information; and

                 c.     protect against reasonably foreseeable threats to the security or integrity of

                        such information.

           81.   Defendant had the resources necessary to prevent the Data Breach, but neglected to

adequately implement data security measures, despite its obligation to protect Plaintiff’s and Class

Members’ Sensitive Information.




41   2014 LexisNexis® True Cost of FraudSM Study, Post-Recession Revenue Growth Hampered
     by Fraud As All Merchants Face Higher Costs, available at:
     https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf (last accessed
     Dec. 21, 2021).


564689.1                                         23
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 24 of 69 PageID #:24




           82.   Had Defendant remedied the deficiencies in its data security systems and adopted

security measures recommended by experts in the field, it would have prevented the intrusions into

its systems and, ultimately, the theft of the Sensitive Information.

           83.   As a direct and proximate result of Defendant’s wrongful actions and inactions,

Plaintiff and Class Members have been placed at imminent, immediate, and continuing increased

risk of harm from identity theft and fraud, requiring them to take time that they otherwise would

have dedicated to other life demands, such as work, leisure, and family, in an effort to mitigate the

actual and potential impact of the Data Breach on their lives.

           84.   The U.S. Department of Justice’s Bureau of Justice Statistics found that “among

victims who had personal information used for fraudulent purposes, 29% spent a month or more

resolving problems,” and that “resolving the problems caused by identity theft [could] take more

than a year for some victims.”42

           85.   As a result of Defendant’s failures to prevent the Data Breach, Plaintiff and Class

Members have suffered, will suffer, and are at increased risk of suffering:

                 a.      the compromise, publication, theft, and/or unauthorized use of their

                         Sensitive Information;

                 b.      out-of-pocket costs associated with the prevention, detection, recovery, and

                         remediation from identity theft or fraud;

                 c.      lost opportunity costs and lost wages associated with efforts expended, and

                         the loss of productivity from addressing and attempting to mitigate the

                         actual and future consequences of the Data Breach, including but not limited


42   U.S. Department of Justice, Office of Justice Programs Bureau of Justice Statistics, Victims of
     Identity Theft, 2012, December 2013, available at:
     https://www.bjs.gov/content/pub/pdf/vit12.pdf (last accessed Dec. 21, 2021).


564689.1                                          24
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 25 of 69 PageID #:25




                         to efforts spent researching how to prevent, detect, contest, and recover

                         from identity theft and fraud;

                 d.      the current and ongoing risk to their Sensitive Information, which remains

                         in Defendant’s possession and is subject to further breaches so long as

                         Defendant fails to undertake appropriate measures to protect the Sensitive

                         Information;

                 e.      current and future costs in terms of time, effort, and money that will be

                         expended to prevent, mitigate, detect, contest, remediate, and repair the

                         impact of the Data Breach for the remainder of Plaintiff’s and Class

                         Members’ lives; and

                 f.      stress, anxiety, and other related forms of emotional distress.

           86.   In addition to a remedy for these harms, Plaintiff and the Class Members maintain

an undeniable interest in ensuring their Sensitive Information is secure, remains secure, and is not

subject to further misappropriation and/or theft.

K.         Defendant’s Delay in Identifying and Reporting the Breach Caused Additional
           Harm.

           87.   It is axiomatic that:

                 The quicker a financial institution, credit card issuer, wireless carrier
                 or other service provider is notified that fraud has occurred on an
                 account, the sooner these organizations can act to limit the damage.
                 Early notification can also help limit the liability of a victim in some
                 cases, as well as allow more time for law enforcement to catch the
                 fraudsters in the act.43

           88.   Indeed, once a data breach has occurred:

43   Business Wire¸ Identity Fraud Hits Record High with 15.4 Million U.S. Victims in 2016, Up
     16 Percent According to New Javelin Strategy & Research Study, available at:
     https://www.businesswire.com/news/home/20170201005166/en/Identity-Fraud-Hits-Record-
     High-15.4-Million (last accessed Dec. 21, 2021).


564689.1                                            25
       Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 26 of 69 PageID #:26




                 [o]ne thing that does matter is hearing about a data breach quickly.
                 That alerts consumers to keep a tight watch on credit card bills,
                 insurance invoices, and suspicious emails. It can prompt them to
                 change passwords and freeze credit reports. And notifying officials
                 can help them catch cybercriminals and warn other businesses of
                 emerging dangers. If consumers don’t know about a breach because
                 it wasn’t reported, they can’t take action to protect themselves
                 (internal citations omitted).44

           89.   Although their Sensitive Information was improperly exposed, viewed, and stolen

beginning on or about August 20, 2020, through December 1, 2020, affected persons were not

notified of the Data Breach until, at the earliest, November 30, 2021, depriving them of the ability

to promptly mitigate potential adverse consequences resulting from the Data Breach.

           90.   As a result of Defendant’s delay in detecting and notifying client’s and/or Plaintiff’s

and Class Members’ of the Data Breach, Plaintiff’s and Class Members’ risk of fraud has been

driven even higher.

                                  V.      CLASS ALLEGATIONS

           91.   Plaintiff seeks relief on behalf of himself and as representatives of all others

similarly situated. Pursuant to Fed. R. Civ. P. 23(a), (b)(2), (b)(3), and (c)(4), Plaintiff seeks

certification of a Nationwide class, defined as follows:

                 All persons residing in the United States whose Sensitive
                 Information was accessed and acquired by an unauthorized party in
                 the Data Breach announced by Defendant in or about November 30,
                 2021 (the “Nationwide Class”).

           92.   Pursuant to Fed. R. Civ. P. 23, and in the alternative to claims asserted on behalf of

the Nationwide Class, Plaintiff asserts claims under the laws of the individual States, and on behalf

of separate statewide classes, defined as follows:

44   Consumer Reports, The Data Breach Next Door Security breaches don't just hit giants like
     Equifax and Marriott. Breaches at small companies put consumers at risk, too, January 31,
     2019, available at: https://www.consumerreports.org/data-theft/the-data-breach-next-door/
     (last accessed Dec. 21, 2021).


564689.1                                           26
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 27 of 69 PageID #:27




                 Missouri Subclass: All persons residing in the state of Missouri
                 whose Sensitive Information was accessed and acquired by an
                 unauthorized party in the Data Breach announced by Defendant in
                 or about November 30, 2021 (the “Missouri Class”).

           93.   Where appropriate, the Nationwide Class and Statewide Classes are collectively

referred to as the “Class.”

           94.   Excluded from the Class are Defendant; officers, directors, and employees of

Defendant; any entity in which Defendant has a controlling interest, is a parent or subsidiary, or

which is controlled by Defendant; and the affiliates, legal representatives, attorneys, heirs,

predecessors, successors, and assigns of Defendant. Also excluded are the Judge(s) and Court

personnel in this case and any members of their immediate families.

           95.   Plaintiff reserves the right to amend the class definitions, including creating

additional subclasses as necessary, after having had an opportunity to conduct discovery.

           96.   Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of the claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

           97.   All Class Members are readily ascertainable in that Defendant has access to

addresses and other contact information for all Class Members, which can be used for providing

notice to Class Members.

           98.   Numerosity. Consistent with Fed. R. Civ. P. 23(a)(1), the class members are so

numerous and geographically dispersed that joinder of all members is impractical. While the exact

number of Class Members is unknown to Plaintiff at this time, the proposed Class includes

approximately 274,15 individuals whose Sensitive Information was compromised in the Data

Breach. Class Members may be identified through objective means. Class Members may be




564689.1                                         27
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 28 of 69 PageID #:28




notified of the pendency of this action by recognized, Court–approved notice dissemination

methods, which may include U.S. mail, electronic mail, internet postings, and/or published notice.

           99.   Commonality and Predominance. Consistent with Fed. R. Civ. P. 23(a)(2) and

23(b)(3), this action involves common questions of law and fact predominating over any questions

that may affect only individual Class Members. Common questions include:

                 a.    Whether Defendant had a duty to protect the Sensitive Information in

                       its possession;

                 b.    Whether Defendant’s allowing Plaintiff’s and Class Members’ Sensitive

                       Information to be accessed, viewed, and/or obtained by unauthorized

                       persons without prior written authorization from Plaintiff or Class Members

                       was permissible;

                 c.    Whether Defendant knew or should have known of the susceptibility of its

                       data security systems to a data breach;

                 d.    Whether Defendant engaged in the wrongful conduct alleged in

                       this Complaint;

                 e.    Whether Defendant’s conduct was unfair, unconscionable, and/or unlawful;

                 f.    Whether Defendant failed to implement and maintain industry standard,

                       adequate, and reasonable systems and security procedures and practices to

                       protect Plaintiff’s and Class Members’ Sensitive Information;

                 g.    Whether Defendant was negligent in failing to implement industry standard,

                       adequate, and reasonable security procedures and practices;




564689.1                                        28
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 29 of 69 PageID #:29




             h.     Whether Defendant was negligent in failing to discover continuing

                    unauthorized access to its network for a period of approximately three

                    months—between August 20, 2020, and December 1, 2020;

             i.     Whether Defendant’s failure to implement industry standard, adequate, and

                    reasonable data security measures allowed the breach to occur;

             j.     Whether Defendant owed a duty to Plaintiff and Class Members to

                    adequately protect their Sensitive Information, and to provide timely notice

                    of the Data Breach to Plaintiff and Class Members;

             k.     Whether Defendant breached its duties to protect Plaintiff’s and Class

                    Members’ Sensitive Information by failing to provide industry standard,

                    adequate, and reasonable data security, and failing to provide appropriate

                    and timely notice of the Data Breach to Plaintiff and Class Members;

             l.     Whether Defendant failed to exercise reasonable care in the hiring, training,

                    and/or supervision of its employees and agents;

             m.     Whether Defendant’s conduct constituted deceptive trade practices;

             n.     Whether Defendant’s conduct constituted unfair and deceptive acts and

                    practices;

             o.     Whether Plaintiff and Class Members are third–party beneficiaries to the

                    contracts between Defendant and its clients;

             p.     Whether Defendant’s conduct, including its failure to act, resulted in or was

                    the proximate cause of the breach of its systems, resulting in the loss of

                    Plaintiff’s and Class Members’ Sensitive Information;




564689.1                                     29
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 30 of 69 PageID #:30




                  q.     Whether Defendant adequately addressed and fixed the vulnerabilities

                         permitting the Data Breach to occur;

                  r.     Whether Plaintiff and Class Members were injured and suffered damages

                         or other losses because of Defendant’s failure to reasonably and/or

                         adequately protect its network;

                  s.     Whether Plaintiff and Class Members are entitled to recover damages; and

                  t.     Whether Plaintiff and Class Members are entitled to declaratory relief and

                         equitable relief, including injunctive relief, restitution, disgorgement,

                         and/or other equitable relief.

           100.   Typicality. Consistent with Fed. R. Civ. P. 23(a)(3), Plaintiff’s claims are typical

of the claims of other Class Members in that Plaintiff, like all Class Members, had his Sensitive

Information compromised, breached, and stolen in the Data Breach. Plaintiff’s damages and

injuries are akin to other Class members, and Plaintiff asserts the same claims and forms of relief

as the Class.

           101.   Adequacy. Consistent with Fed. R. Civ. P. 23(a)(4), Plaintiff and counsel will fairly

and adequately protect the interests of the Class. Plaintiff is a member of the Class defined herein;

is committed to vigorously pursuing this matter against Defendant to obtain relief for the Class;

and has no interests that are antagonistic to, or in conflict with, the interests of other Class

Members. Plaintiff retained counsel who are competent and experienced in litigating class actions

and complex litigation, including privacy litigation of this kind. Plaintiff and his counsel intend to

vigorously prosecute this case, and will fairly and adequately protect the Class’s interests.

           102.   Superiority. Consistent with Fed. R. Civ. P. 23(b)(3), a class action is superior to

other available methods for the fair and efficient adjudication of the controversy. Class treatment




564689.1                                           30
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 31 of 69 PageID #:31




of common questions of law and fact is superior to multiple individual actions or piecemeal

litigation. Moreover, absent a class action, most Class Members would find the cost of litigating

their individual claims prohibitively high and would therefore have no effective remedy, so that in

the absence of class treatment, Defendant’s violations of law inflicting substantial damages in the

aggregate would go unremedied without certification of the Class. Plaintiff and Class Members

were harmed by Defendant’s wrongful conduct and/or action. Litigating this action as a class

action will reduce the possibility of inconsistent outcomes of individual actions, and repetitious

litigation relating to Defendant’s conduct and/or inaction. Plaintiff is unaware of any difficulties

that might be encountered in this litigation that would preclude its maintenance as a class action.

           103.   Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(b)(3), because

the common questions of law and fact predominate over any questions affecting individual Class

Members, a class action is superior to other available methods for the fair and efficient adjudication

of this controversy, and the requirements of Rule 23(a) are met.

           104.   Injunctive and Declaratory Relief. Class certification is also appropriate under

Fed. R. Civ. P. 23(b)(2) because Defendant, through its uniform conduct, acted or failed and

refused to act on grounds generally applicable to the Class as a whole, making injunctive and

declaratory relief appropriate to the Class as a whole. Moreover, Defendant continues to maintain

its inadequate security practices, retain possession of Plaintiff’s and Class Members’ Sensitive

Information, and has not been forced to change its practices or relinquish Sensitive Information by

nature of other civil suits or government enforcement actions, thus making injunctive relief a live

issue and appropriate to the Class as a whole.

           105.   Likewise, particular issues are also appropriate for certification under Fed. R. Civ.

P. 23(c)(4) because the claims present particular, common issues, the resolution of which would




564689.1                                           31
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 32 of 69 PageID #:32




materially advance the resolution of this matter and the parties’ interests therein. Such particular

issues include, but are not limited to:

                    a.     Whether     Plaintiff’s   and   Class   Members’    Sensitive   Information

                           was accessed and/or acquired by an unauthorized party in the Data Breach;

                    b.     Whether Defendant owed a legal duty to Plaintiff and Class Members;

                    c.     Whether Defendant failed to take adequate and reasonable steps to

                           safeguard Plaintiff’s and Class Members’ Sensitive Information;

                    d.     Whether Defendant failed to adequately monitor its data security systems;

                    e.     Whether Defendant failed to comply with applicable laws, regulations,

                           and/or industry standards relating to data security amounting to negligence;

                    f.     Whether Defendant’s security measures were reasonable in light of data

                           security recommendations, and other measures recommended by data

                           security experts;

                    g.     Whether Defendant knew or should have known that it did not employ

                           adequate and reasonable measures to keep Plaintiff’s and Class Members’

                           Sensitive Information secure; and

                    h.     Whether Defendant’s failure to adhere to FTC data security obligations,

                           industry standards, and/or measures recommended by data security experts

                           caused the Data Breach.

                                      VI.      CAUSES OF ACTION

                                                COUNT I
                                                Negligence
                  (On Behalf of Plaintiff, the Nationwide Class and Missouri Subclass)

           106.     Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.




564689.1                                             32
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 33 of 69 PageID #:33




           107.   Defendant collected, maintained, analyzed, and used Plaintiff’s and Class

Members’ Sensitive Information, and by doing so undertook and owed a duty to Plaintiff and Class

Members to exercise reasonable care to secure and safeguard their Sensitive Information, and to

use industry standard, commercially available, and reasonable methods to do so. At all times,

Defendant knew Plaintiff’s and Class Members’ Sensitive Information was private and

confidential, was required to be kept private and confidential, and the types of harm Plaintiff and

Class Members could and would suffer if the Sensitive Information was wrongfully disclosed.

           108.   Defendant owed a duty of care not to subject Plaintiff and Class Members, along

with their Sensitive Information, to an unreasonable risk of harm because Plaintiff and Class

Members were the foreseeable and probable victims of any inadequate security practices by

Defendant.

           109.   Because of its duty of care to prevent foreseeable harm to Plaintiff and Class

Members, and Defendant therefore had, and still has, a duty to take adequate and reasonable steps

to safeguard their Sensitive Information from unauthorized access and/or acquisition (theft). More

specifically, this duty includes:

                  a.     Exercising reasonable care in the hiring, training, and/or supervising of its

                         employees and agents entrusted with access to and safeguarding of

                         Plaintiff’s and Class Members’ Sensitive Information on cyber security

                         measures and industry standards regarding the safety and safeguarding of

                         Sensitive Information;

                  b.     Designing, maintaining, and testing Defendant’s data security systems, data

                         storage architecture, and data security protocols to ensure Plaintiff’s and

                         Class Members’ Sensitive Information in Defendant’s possession was and




564689.1                                          33
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 34 of 69 PageID #:34




                        is adequately secured and protected from unauthorized access and/or

                        acquisition;

                  c.    Implementing processes to timely and adequately detect an unauthorized

                        breach of Defendant’s security systems and data storage architecture;

                  d.    Timely acting on all suspicions, warnings, and alerts, including public

                        information, regarding Defendant’s security vulnerabilities and potential

                        compromise of Plaintiff’s and Class Members’ Sensitive Information in its

                        possession; and

                  e.    Maintaining data security measurers consistent with industry standards and

                        applicable federal and state laws and other requirements.

           110.   Defendant had a common law duty to prevent foreseeable harm to Plaintiff and

Class Members. The duty existed because Plaintiff and Class Members were the foreseeable and

probable victims of any inadequate security practices of Defendant in its affirmative collecting,

maintaining, analyzing, and using of Plaintiff’s and Class Members’ Sensitive Information. In fact,

not only was it foreseeable that Plaintiff and Class Members would be harmed by Defendant’s

failure to protect their Sensitive Information because unauthorized parties, hackers, and other

malicious actors routinely attempt to access and steal such information for use in nefarious

purposes, but Defendant also knew it was more likely than not that Plaintiff and Class Members

would be harmed as a result.

           111.   Defendant knew, or should have known, of the risks inherent in collecting,

maintaining, analyzing, and using Sensitive Information, the vulnerabilities of its data security

systems, and the importance of adequate and industry standard security. Defendant knew or should

have known about numerous, well-publicized data breaches and of industry security warnings.




564689.1                                         34
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 35 of 69 PageID #:35




           112.   Defendant knew, or should have known, that its data systems and networks did not

adequately safeguard Plaintiff’s and Class Members’ Sensitive Information.

           113.   Defendant’s duties to use adequate and reasonable security measures also arose as

a result of the special relationship existing between it, on the one hand, and Plaintiff and Class

Members, on the other hand. This special relationship, recognized in laws and regulations, arose

because Defendant collected, maintained, analyzed, and used Plaintiff’s and Class Members’

Sensitive Information in order to perform its services. Defendant alone had the duty to and could

have ensured its security system and data storage architecture was sufficient to prevent or minimize

the Data Breach.

           114.   Further, the policy of preventing future harm weighs in favor of finding a special

relationship between Defendant on the one hand, and Plaintiff and Class Members on the other. If

companies are not held accountable for failing to implement minimum industry-standard security

practices and procedures to safeguard Sensitive Information in their possession, companies will

have no incentive to—and ultimately will not—take the necessary steps to protect against future

security breaches.

           115.   Defendant also owed a duty to timely disclose the material fact that its computer

network and data security practices and protocols were inadequate to safeguard Plaintiff’s and

Class Members’ Sensitive Information from unauthorized access and acquisition.

           116.   Defendant also had independent duties under state and federal laws requiring it to

reasonably safeguard Plaintiff’s and Class Members’ Sensitive Information, and promptly notify

them about the data breach.

           117.   Defendant solicited, gathered, analyzed, stored, and used Plaintiff’s and Class

Members’ Sensitive Information to provide its services—which affects commerce.




564689.1                                          35
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 36 of 69 PageID #:36




           118.   Defendant breached its duties to Plaintiff and Class Members by failing to provide

fair, reasonable, and/or adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ Sensitive Information. Defendant also breached its duty to Plaintiff

and Class Members to adequately protect and safeguard Sensitive Information by knowingly

disregarding standard information security principles, despite obvious risks, and by allowing

unmonitored and unrestricted access to and acquisition of unsecured Sensitive Information.

Defendant breached these duties through the conduct alleged in this Complaint by, including

without limitation:

                  a.     Failing to protect the Sensitive Information in its possession;

                  b.     Failing to implement the minimum industry–standard security practices and

                         procedures;

                  c.     Failing to maintain adequate computer systems and data security practices

                         to safeguard the Sensitive Information in its possession despite knowing its

                         vulnerabilities;

                  d.     Allowing unauthorized access to and acquisition of Plaintiff’s and Class

                         Members’ Sensitive Information;

                  e.     Failing to implement adequate system and event monitoring;

                  f.     Failing to disclose the material fact that its computer systems and

                         data security practices were inadequate to safeguard the Sensitive

                         Information in its possession from unauthorized access and acquisition; and

                  g.     Failing to disclose the material fact of the Data Breach to Plaintiff and Class

                         Members in a timely and accurate manner.




564689.1                                           36
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 37 of 69 PageID #:37




           119.   Furthering Defendant’s negligent practices, Defendant also breached its duties by

failing to implement adequate security supervision and oversight of the Sensitive Information with

which it was and is entrusted—in spite of the known risk and foreseeable likelihood of breach and

misuse—that permitted an unauthorized party to access and acquire Plaintiff’s and Class

Members’ Sensitive Information, and intentionally disclose the Sensitive Information to an

unauthorized party without prior consent.

           120.   The injuries suffered by Plaintiff and Class Members were proximately and directly

caused by Defendant’s breach of its duties—specifically its failure to exercise adequate and

reasonable care in hiring, training, and/or supervising its employees and agents tasked with

safeguarding and/or with access to Plaintiff’s and Class Members’ Sensitive Information, failure

to monitor and/or test its data security system, and failure to monitor or otherwise follow

reasonable industry standard security measures to protect Plaintiff’s and Class Members’ Sensitive

Information.

           121.   When individuals—such as Plaintiff and Class Members—have their personal

information stolen, they are placed at current and ongoing risk of identity theft, and need to take

steps to protect themselves, including, for example, paying for credit monitoring services, and

purchasing or obtaining credit reports to protect themselves from identity theft. The credit

monitoring services and purchasing or obtaining credit reports are required because of the present

economic risk and harm—unauthorized parties exfiltrated Sensitive Information enabling them to

commit identity theft, and secure fraudulent loans, leases, and credit cards. And, the unauthorized

parties are likely to continue attempting their identity theft and fraudulent activities for the

foreseeable future, so Plaintiff and Class Members have been injured and are exposed to a real risk

of misuse of their Sensitive Information.




564689.1                                          37
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 38 of 69 PageID #:38




           122.   But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, their Sensitive Information would not have been accessed and acquired by an

unauthorized party. And as a direct and proximate result of Defendant’s failure to exercise

adequate and reasonable care and use industry standard, commercially available, adequate, and

reasonable security measures, Plaintiff’s and Class Members’ Sensitive Information was accessed

and acquired by an unauthorized party who could—and likely will—use the information to commit

identity or financial fraud. Plaintiff and Class Members face the ongoing concrete, imminent, and

impending substantially heightened risk of identity theft, fraud, and misuse of their Sensitive

Information.

           123.   There is a temporal and close causal connection between Defendant’s failure to

implement security measures to protect Plaintiff’s and Class Members’ Sensitive Information, and

the harm suffered and/or risk of imminent harm suffered by Plaintiff and Class Members.

           124.   It was foreseeable Defendant’s failure to exercise reasonable care to safeguard the

Sensitive Information in its possession and/or control would lead to one or more types of injury to

Plaintiff and Class Members. And the Data Breach was foreseeable given the known, publicized,

high frequency of cyberattacks and data breaches against companies accessing, maintaining,

storing, and/or utilizing Sensitive Information.

           125.   Plaintiff and Class Members were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew of, or should have known of, the

inherent risks in collecting and storing Sensitive Information, the critical importance of providing

adequate security for Sensitive Information, the current cyber scams being perpetrated using

Sensitive Information, and its own inadequate security practices, procedures, and protocols in

place to secure Plaintiff’s and Class Members’ Sensitive Information.




564689.1                                           38
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 39 of 69 PageID #:39




           126.   Plaintiff and Class Members have no ability to protect their Sensitive Information

in Defendant’s possession.

           127.   Defendant alone was in a position to protect against the harm and injuries suffered

by Plaintiff and Class Members as a result of the Data Breach.

           128.   As a direct and proximate result of Defendant’s conduct and violations of the

above–mentioned statutes, Plaintiff and Class Members have suffered, and continue to suffer,

damages arising from the Data Breach as described herein, and are entitled to compensatory,

consequential, nominal, and punitive damages in an amount to be proven at trial. Such injuries and

damages include but are not limited to those described above, including:

                  a.     Actual identity theft and current and ongoing risk of identity fraud;

                  b.     Loss of the opportunity to control how their Sensitive Information is used;

                  c.     The compromise, publication, and/or theft of their Sensitive Information;

                  d.     Out-of-pocket expenses associated with the prevention, detection,

                         and recovery from identity theft and/or unauthorized use of their Sensitive

                         Information;

                  e.     Lost opportunity costs associated with the effort expended and the loss of

                         productivity addressing and attempting to mitigate the actual and future

                         consequences of the Data Breach, including but not limited to efforts spent

                         researching how to prevent, detect, contest, and recover from identity theft,

                         placing “freezes” and “alerts” with credit reporting agencies, contacting

                         their financial institutions, closing or modifying financial accounts, closely

                         reviewing and monitoring their credit reports and various accounts for

                         unauthorized activity, and filing police reports;




564689.1                                           39
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 40 of 69 PageID #:40




                  f.     The current and ongoing risk to their Sensitive Information, which remains

                         in Defendant’s possession and is subject to further unauthorized disclosures

                         so long as Defendant fails to undertake appropriate and adequate measures

                         to protect Plaintiff’s and Class Members’ Sensitive Information in

                         Defendant’s continued possession;

                  g.     Future costs in terms of time, effort, and money that will be expended to

                         prevent, detect, contest, and repair the impact of the Sensitive Information

                         accessed and acquired as a result of the Data Breach—which may take

                         months if not years to discover, detect, and remedy;

                  h.     Future out-of-pocket expenses associated with paying for fraudulent

                         charges resulting from identity theft, and/or unauthorized use of their

                         Sensitive Information;

                  i.     The diminished value of their Sensitive Information;

                  j.     Other economic harm;

                  k.     Emotional distress; and

                  l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                         and expenses.

           129.   The nature of other forms of damage and injury may take years to detect, and the

potential scope can only be assessed after a thorough investigation of the facts and events

surrounding the theft of the Sensitive Information during the Data Breach mentioned above.

                                            COUNT II
                                         Negligence Per Se
             (On Behalf of Plaintiff and the Nationwide Class and Missouri Subclass)

           130.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.




564689.1                                           40
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 41 of 69 PageID #:41




           131.   Defendant had duties to safeguard Plaintiff’s and Class Members’ Sensitive

Information that arose through certain statutes and regulations.

           132.   Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide fair and

adequate computer systems and data security practices to safeguard Plaintiff’s and Class Members’

Sensitive Information. Similar state–specific statutory causes of action—such as consumer fraud

and unfair trade practices acts—provide for such a duty, as well.

           133.   Plaintiff and Class Members are members of the classes of persons the foregoing

statute is intended to protect.

           134.   The essential purpose of the statute is to protect from the same or similar kind of

harm caused to Plaintiff and Class Members, as a direct and proximate result of Defendant’s breach

of those statutory and regulatory duties.

           135.   Defendant breached its duties to Plaintiff and Class Members under the FTC Act

by failing to provide fair, reasonable, or adequate computer systems and data security practices to

safeguard Plaintiff’s and Class Members’ Sensitive Information.

           136.   Defendant’s breach of its duties arising out of the foregoing statute constitutes

negligence per se.

           137.   But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and Class Members, Plaintiff’s and Class Members’ Sensitive Information would not have been

compromised and they would not have been harmed.

           138.   The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

it was failing to meet its duties, and that Defendant’s breach would cause Plaintiff and Class




564689.1                                          41
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 42 of 69 PageID #:42




Members to experience the foreseeable harms associated with the exposure and exfiltration of their

Sensitive Information, including increased risk of identity theft.

           139.   As a direct and proximate result of Defendant’s violation of the foregoing statutes

and regulations, Plaintiff and Class Members were injured as described in detail herein, and are

entitled to compensatory, consequential, nominal, and punitive damages in an amount to be proven

at trial. Such injuries and damages include but are not limited to those described above, including:

                  a.     Actual identity theft and current and ongoing risk of identity fraud;

                  b.     Loss of the opportunity to control how their Sensitive Information is used;

                  c.     The compromise, publication, and/or theft of their Sensitive Information;

                  d.     Out-of-pocket expenses associated with the prevention, detection,

                         and recovery from identity theft and/or unauthorized use of their Sensitive

                         Information;

                  e.     Lost opportunity costs associated with the effort expended and the loss of

                         productivity addressing and attempting to mitigate the actual and future

                         consequences of the Data Breach, including but not limited to efforts spent

                         researching how to prevent, detect, contest, and recover from identity theft,

                         placing “freezes” and “alerts” with credit reporting agencies, contacting

                         their financial institutions, closing or modifying financial accounts, closely

                         reviewing and monitoring their credit reports and various accounts for

                         unauthorized activity, and filing police reports;

                  f.     The current and ongoing risk to their Sensitive Information, which remains

                         in Defendant’s possession and is subject to further unauthorized disclosures

                         so long as Defendant fails to undertake appropriate and adequate measures




564689.1                                           42
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 43 of 69 PageID #:43




                         to protect Plaintiff’s and Class Members’ Sensitive Information in

                         Defendant’s continued possession;

                  g.     Future costs in terms of time, effort, and money that will be expended to

                         prevent, detect, contest, and repair the impact of the Sensitive Information

                         accessed and acquired as a result of the Data Breach—which may take

                         months if not years to discover, detect, and remedy;

                  h.     Future out-of-pocket expenses associated with paying for fraudulent

                         charges resulting from identity theft, and/or unauthorized use of their

                         Sensitive Information;

                  i.     The diminished value of their Sensitive Information;

                  j.     Other economic harm;

                  k.     Emotional distress; and

                  l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                         and expenses.

           140.   The nature of other forms of damage and injury may take years to detect, and the

potential scope can only be assessed after a thorough investigation of the facts and events

surrounding the theft of the Sensitive Information during the Data Breach mentioned above.

                                            COUNT III
                 Breach of Contracts to Which Plaintiff and Class Members Are
                                     Third–Party Beneficiaries
             (On Behalf of Plaintiff and the Nationwide Class and Missouri Subclass)

           141.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           142.   At all times relevant, Defendant had express or implied contracts or agreements

with clients to provide services.




564689.1                                           43
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 44 of 69 PageID #:44




           143.   Plaintiff and Class Members are intended third–party beneficiaries of contracts

entered into between Defendant and its clients because Plaintiff’s and Class Members’ Sensitive

Information is the subject matter of the contracts and for which Defendant agreed to provide its

services.

           144.   As previously alleged, Defendant breached these contracts by failing to employ

adequate and industry standard information security practices to secure Plaintiff’s and Class

Members’ Sensitive Information, resulting in the Data Breach and the theft and foreseeable misuse

of Plaintiff and Class Members’ Sensitive Information by unauthorized third persons.

           145.   Plaintiff and Class Members have a right to recovery for breach because one or

more of the parties to these contracts intended to give Plaintiff and Class Members benefits related

to the performance promised in the contracts.

           146.   As a direct and proximate result of Defendant’s breaches of these contracts,

Plaintiff and Class Members have suffered, and continue to suffer, injuries and damages arising

from the Data Breach as alleged above.

           147.   The nature of other forms of economic damage and injury may take years to detect,

and the potential scope can only be assessed after a thorough investigation of the facts and events

surrounding the theft of the Sensitive Information during the Data Breach mentioned above.

                                            COUNT IV
                                    Breach of Implied Contract
             (On Behalf of Plaintiff and the Nationwide Class and Missouri Subclass)

           148.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           149.   Defendant offered accounting, tax, consulting, payroll, and assurance solutions

services to client and/or Plaintiff and Class Members in exchange for compensation.




564689.1                                           44
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 45 of 69 PageID #:45




           150.   Plaintiff’s and Class Members’ Sensitive Information, including their full name,

Social Security number, and other private and sensitive information, was provided Defendant in

order to receive Defendant’s services.

           151.   Plaintiff and Class Members paid money, or on information and belief, money was

paid on their behalf, to Defendant in exchange for services, along with Defendant’s promise to

protect their Sensitive Information, from unauthorized disclosure. These exchanges constituted an

agreement between the parties.

           152.   Defendant, as a certified public accounting firm, promised to comply with relevant

laws and to protect Plaintiff’s and Class Members’ Sensitive Information.

           153.   Implicit in the agreement between Plaintiff and Class Members or others on their

behalf, and Defendant regarding the Sensitive Information was Defendant’s obligation to: (a) use

such Sensitive Information for business purposes only; (b) take reasonable and adequate steps to

safeguard that Sensitive Information; (c) prevent unauthorized disclosures of the Sensitive

Information; (d) provide Plaintiff and Class Members with prompt and sufficient notice of any and

all unauthorized access and/or theft of their Sensitive Information; (e) reasonably safeguard and

protect Plaintiff’s and Class Members’ Sensitive Information from unauthorized disclosure or

uses; and (f) retain the Sensitive Information only under conditions that kept such information

secure and confidential.

           154.   Without such implied contracts, Plaintiff and Class Members would not have

provided their Sensitive Information to Defendant or allowed it to be provided to Defendant on

their behalf.

           155.   Plaintiff and Class Members fully performed their obligations under the implied

contract with Defendant. Defendant was therefore required to reasonably safeguard and protect




564689.1                                          45
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 46 of 69 PageID #:46




Plaintiff’s and Class Members’ Sensitive Information from unauthorized disclosure and/or use.

However, Defendant did not.

           156.   Defendant breached the implied contracts with Plaintiff and Class Members by

failing to (a) reasonably safeguard and protect Plaintiff’s and Class Members’ Sensitive

Information, which was compromised as a result of the Data Breach; and (b) comply with its

promise to abide by applicable laws.

           157.   Defendant’s failure to implement adequate measures to protect Plaintiff’s and Class

Members’ Sensitive Information violated the purpose of the agreement between the parties:

Plaintiff’s and Class Members’ payment, and/or payment made on their behalf, in exchange for

Defendant’s services.

           158.   Defendant was on notice that its systems and data security protocols could be

inadequate, yet failed to invest in the proper safeguarding of Plaintiff’s and Class Members’

Sensitive Information.

           159.   Instead of spending adequate financial resources to safeguard Plaintiff’s and Class

Members’ Sensitive Information, Defendant instead used that money for other purposes, thereby

breaching its implied contracts it had with Plaintiff and Class Members.

           160.   As a direct and proximate result of Defendant’s breach of the implied contracts,

Plaintiff and the Class have suffered, and continue to suffer, injuries and damages arising from the

Data Breach including, but not limited to:

                  a.     Actual identity theft and current and ongoing risk of identity fraud;

                  b.     Loss of the opportunity to control how their Sensitive Information is used;

                  c.     The compromise, publication, and/or theft of their Sensitive Information;




564689.1                                          46
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 47 of 69 PageID #:47




             d.     Out-of-pocket expenses associated with the prevention, detection,

                    and recovery from identity theft and/or unauthorized use of their Sensitive

                    Information;

             e.     Lost opportunity costs associated with the effort expended and the loss of

                    productivity addressing and attempting to mitigate the actual and future

                    consequences of the Data Breach, including but not limited to efforts spent

                    researching how to prevent, detect, contest, and recover from identity theft,

                    placing “freezes” and “alerts” with credit reporting agencies, contacting

                    their financial institutions, closing or modifying financial accounts, closely

                    reviewing and monitoring their credit reports and various accounts for

                    unauthorized activity, and filing police reports;

             f.     The current and ongoing risk to their Sensitive Information, which remains

                    in Defendant’s possession and is subject to further unauthorized disclosures

                    so long as Defendant fails to undertake appropriate and adequate measures

                    to protect Plaintiff’s and Class Members’ Sensitive Information in

                    Defendant’s continued possession;

             g.     Future costs in terms of time, effort, and money that will be expended to

                    prevent, detect, contest, and repair the impact of the Sensitive Information

                    accessed and acquired as a result of the Data Breach—which may take

                    months if not years to discover, detect, and remedy;

             h.     Future out-of-pocket expenses associated with paying for fraudulent

                    charges resulting from identity theft, and/or unauthorized use of their

                    Sensitive Information;




564689.1                                      47
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 48 of 69 PageID #:48




                  i.     The diminished value of their Sensitive Information;

                  j.     Other economic harm;

                  k.     Emotional distress; and

                  l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                         and expenses.

                                            COUNT V
                                        Unjust Enrichment
             (On Behalf of Plaintiff and the Nationwide Class and Missouri Subclass)

           161.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           162.   Plaintiff and Class Members conferred a monetary benefit on Defendant, either

directly or indirectly. Specifically, they purchased goods and services, or on information and belief

they were purchased on Plaintiff’s and Class Members’ behalf, from Defendant and in so doing

Defendant was provided with their Sensitive Information. In exchange, Plaintiff and Class

Members should have received from Defendant the goods and services that were the subject of the

transaction and have their Sensitive Information protected with adequate data security.

           163.   Defendant knew Plaintiff and Class Members conferred a benefit that Defendant

accepted. Defendant profited from these transactions and used Plaintiff’s and Class Members’

Sensitive Information for business purposes.

           164.   The amounts Plaintiff and Class Members paid for goods and services were used,

in part, to pay for use of Defendant’s network and the administrative costs of data management

and security.

           165.   Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class Members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.


564689.1                                           48
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 49 of 69 PageID #:49




           166.   Defendant failed to secure Plaintiff’s and Class Members’ Sensitive Information

and, therefore, Defendant did not provide full compensation for the benefit provided by Plaintiff

and Class Members.

           167.   Defendant acquired the Sensitive Information through inequitable means in that it

failed to disclose the inadequate security practices previously alleged.

           168.   If Plaintiff and Class Members knew that Defendant had not reasonably secured

their Sensitive Information, they would have taken measures to make sure Defendant did not

receive their Sensitive information.

           169.   Plaintiff and Class Members have no adequate remedy at law.

           170.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to:

                  a.     Actual identity theft and current and ongoing risk of identity fraud;

                  b.     Loss of the opportunity to control how their Sensitive Information is used;

                  c.     The compromise, publication, and/or theft of their Sensitive Information;

                  d.     Out-of-pocket expenses associated with the prevention, detection,

                         and recovery from identity theft and/or unauthorized use of their Sensitive

                         Information;

                  e.     Lost opportunity costs associated with the effort expended and the loss of

                         productivity addressing and attempting to mitigate the actual and future

                         consequences of the Data Breach, including but not limited to efforts spent

                         researching how to prevent, detect, contest, and recover from identity theft,

                         placing “freezes” and “alerts” with credit reporting agencies, contacting

                         their financial institutions, closing or modifying financial accounts, closely




564689.1                                          49
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 50 of 69 PageID #:50




                         reviewing and monitoring their credit reports and various accounts for

                         unauthorized activity, and filing police reports;

                  f.     The current and ongoing risk to their Sensitive Information, which remains

                         in Defendant’s possession and is subject to further unauthorized disclosures

                         so long as Defendant fails to undertake appropriate and adequate measures

                         to protect Plaintiff’s and Class Members’ Sensitive Information in

                         Defendant’s continued possession;

                  g.     Future costs in terms of time, effort, and money that will be expended to

                         prevent, detect, contest, and repair the impact of the Sensitive Information

                         accessed and acquired as a result of the Data Breach—which may take

                         months if not years to discover, detect, and remedy;

                  h.     Future out-of-pocket expenses associated with paying for fraudulent

                         charges resulting from identity theft, and/or unauthorized use of their

                         Sensitive Information;

                  i.     The diminished value of their Sensitive Information;

                  j.     Other economic harm;

                  k.     Emotional distress; and

                  l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                         and expenses.

                                             COUNT VI
                                Common Law Unfair Competition
             (On Behalf of Plaintiff, and the Nationwide Class and Missouri Subclass)

           171.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           172.   Defendant’s acts described herein constitute unfair competition in violation of the

common law of the State of Illinois.


564689.1                                           50
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 51 of 69 PageID #:51




           173.   Defendant’s acts constituting unfair competition in violation of the common law of

the State of Illinois are willful acts, done with full knowledge of Plaintiff’s and Class Member’s

rights.

           174.   Defendant’s acts, and described herein, have caused direct and proximate damage

to Plaintiff and Class Members. Plaintiff and Class Members suffered injury in fact and lost money

or property as the result of Defendant’s unfair competition practices. Plaintiff’s and Class

Members’ Sensitive Information was taken and is in the hands of those who will use it for their

own advantage, and/or is being sold for value, making it clear that the stolen information is of

tangible value. Plaintiff and Class Members also will suffer and/or have suffered consequential

out-of-pocket losses for procuring credit freeze or protection services, identity theft monitoring,

and other expenses relating to identity theft losses or protective measures.

           175.   Defendant’s actions described herein have caused, and will continue to cause,

Plaintiff and Class Members to suffer irreparable harm unless enjoined and/or restrained by this

Court. Plaintiff and Class Members have no adequate remedy at law and is thus damaged in an

amount not yet determined.

                                           COUNT VII
                                Declaratory and Injunctive Relief
             (On Behalf of Plaintiff and the Nationwide Class and Missouri Subclass)

           176.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           177.   Plaintiff brings this cause of action under the federal Declaratory Judgment Act, 28

U.S.C. § 2201.

           178.   As previously alleged, Plaintiff and Class Members entered into an express and/or

implied contract requiring Defendant to provide adequate security for the Sensitive Information it

collected regarding Plaintiff and Class Members.




564689.1                                           51
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 52 of 69 PageID #:52




           179.   Defendant owes a duty of care to Plaintiff and Class Members, requiring Defendant

to adequately secure Plaintiff’s and Class Members’ Sensitive Information.

           180.   Defendant still possess Plaintiff’s and Class Members’ Sensitive Information.

           181.   Since the Data Breach, Defendant has announced few if any changes to its data

security infrastructure, processes, or procedures to fix the vulnerabilities in its computer systems

and/or security practices that permitted the Data Breach to occur and, thereby, prevent future data

breaches.

           182.   Defendant has not satisfied its contractual obligations and legal duties to Plaintiff

and Class Members. In fact, now that Defendant’s insufficient data security is known to hackers,

the Sensitive Information in Defendant’s possession is even more vulnerable to cyberattack.

           183.   Actual harm has arisen in the wake of the Data Breach regarding Defendant’s

contractual obligations and duties of care to provide security measures to Plaintiff’s and Class

Members’ Sensitive Information. Further, Plaintiff and Class Members are at risk of additional or

further harm due to the exposure of their Sensitive Information and Defendant’s failure to address

the security failings that led to such exposure.

           184.   There is no reason to believe Defendant’s security measures are any more adequate

to meet its contractual obligations and legal duties now than they were before the Data Breach.

           185.   Plaintiff, therefore, seeks a declaration that (1) Defendant’s existing security

measures do not comply with its contractual obligations and duties of care to provide adequate

security, and (2) to comply with its contractual obligations and duties of care, Defendant must

implement and maintain reasonable security measures, including, but not limited to ordering

Defendant:




564689.1                                           52
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 53 of 69 PageID #:53




             a.     engage third-party security auditors/penetration testers as well as internal

                    security personnel to conduct testing, including simulated attacks,

                    penetration tests, and audits on Defendant’s systems on a periodic basis, and

                    ordering Defendant to promptly correct any problems or issues detected by

                    such third-party security auditors;

             b.     engage third-party security auditors and internal personnel to run automated

                    security monitoring;

             c.     audit, test, and train its security personnel regarding any new or modified

                    procedures;

             d.     segment data by, among other things, creating firewalls and access controls

                    so that if one area of Defendant’s systems is compromised, hackers cannot

                    gain access to other portions of Defendant’s systems;

             e.     purge, delete, and destroy in a reasonably secure manner Sensitive

                    Information not necessary for its provisions of services;

             f.     conduct regular computer system scanning and security checks;

             g.     routinely and continually conduct internal training and education to inform

                    internal security personnel how to identify and contain a breach when it

                    occurs and what to do in response to a breach; and

             h.     to meaningfully educate its current, former, and prospective clients and

                    Class Members about the threats they face as a result of the loss of their

                    Sensitive Information to third parties, as well as the steps they must take to

                    protect themselves.




564689.1                                     53
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 54 of 69 PageID #:54




                                            COUNT VIII
              Violation of the Illinois Consumer Fraud Act, 815 ILCS §§ 505, et seq.
                        (On Behalf of the Plaintiff, and the National Class)

           186.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein

           187.   This claim is brought under the laws of Illinois and on behalf of all other natural

persons whose Sensitive Information was compromised as a result of the Data Breach and reside

in states having similar laws regarding consumer fraud.

           188.   Defendant is a “person” as defined by 815 Ill. Comp. Stat. §§ 505/1(c).

           189.   Plaintiff and Class Members are “consumers” as defined by 815 Ill. Comp. Stat.

§§ 505/1(e).

           190.   Defendant’s conduct as described herein was in the conduct of “trade” or

“commerce” as defined by 815 Ill. Comp. Stat. § 505/1(f).

           191.   Defendant’s deceptive, unfair, and unlawful trade acts or practices, in violation of

815 Ill. Comp. Stat. § 505/2, include:

                  a.     Failing to implement and maintain reasonable security and privacy

                         measures to protect Plaintiff and Class Members’ Sensitive Information,

                         which was a direct and proximate cause of the Data Breach;

                  b.     Failing to identify foreseeable security and privacy risks, remediate

                         identified security and privacy risks, and adequately improve security and

                         privacy measures, which was a direct and proximate cause of the

                         Data Breach;

                  c.     Failing to comply with common law and statutory duties pertaining to the

                         security and privacy of Plaintiff’s and Class Members’ Sensitive

                         Information, including duties imposed by the FCRA, FTC Act, Illinois laws

                         regulating the use and disclosure of Social Security Numbers, 815 Ill.


564689.1                                           54
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 55 of 69 PageID #:55




                    Comp. Stat § 505/2RR, the Personal Information Protection Act, 815 Ill.

                    Comp. Stat § 530, and the Illinois Uniform Deceptive Trade Practices Act,

                    815 Ill. Comp. Stat. § 510/2(a), which was a direct and proximate cause of

                    the Data Breach;

             d.     Misrepresenting that it would protect the privacy and confidentiality of

                    Plaintiff and Class Members’ Sensitive Information, including by

                    implementing and maintaining reasonable security measures;

             e.     Misrepresenting that it would comply with common law and statutory duties

                    pertaining to the security and privacy of Plaintiff and Class Members’

                    Sensitive Information, including duties imposed by the FCRA, FTC Act,

                    Illinois laws regulating the use and disclosure of Social Security Numbers,

                    815 Ill. Comp. Stat § 505/2RR, the Personal Information Protection Act,

                    815 Ill. Comp. Stat § 530, and the Illinois Uniform Deceptive Trade

                    Practices Act, 815 Ill. Comp. Stat. § 510/2(a);

             f.     Failing to timely and adequately notify clients, Plaintiff, and Class Members

                    of the Data Breach;

             g.     Omitting, suppressing, and concealing the material fact that it did not

                    reasonably or adequately secure Plaintiff’s and Class Members’ Sensitive

                    Information;

             h.     Omitting, suppressing, and concealing the material fact that it did not

                    comply with common law and statutory duties pertaining to the security and

                    privacy of Plaintiff’s and Class Members’ Sensitive Information, including

                    duties imposed by FCRA, FTC Act, Illinois laws regulating the use and




564689.1                                     55
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 56 of 69 PageID #:56




                         disclosure of Social Security Numbers, 815 Ill. Comp. Stat § 505/2RR, the

                         Personal Information Protection Act, 815 Ill. Comp. Stat § 530, and the

                         Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.

                         § 510/2(a); and

                  i.     By failing to provide disclose the Data Breach in a timely fashion, in

                         violation of 815 Ill. Comp. Stat. §§ 530/10(a), et seq.

           192.   Defendant’s representations and omissions were material because they were likely

to deceive reasonable clients and consumers about the adequacy of Defendant’s data security and

ability to protect the confidentiality of consumers’ Sensitive Information.

           193.   Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers, including Plaintiff and Class Members, into believing that their

clients’ or their Sensitive Information would not be exposed to unauthorized parties.

           194.   Defendant intended to mislead its customers, Plaintiff, and Class Members, and

induce them to rely on its misrepresentations and omissions.

           195.   The above unfair and deceptive practices and acts by Defendant offend public

policy. These acts caused substantial injury that these consumers could not reasonably avoid; this

substantial injury outweighed any benefits to consumers or to competition.

           196.   Defendant acted intentionally and knowingly to violate Illinois’s Consumer Fraud

Act, and recklessly disregarded Plaintiff’s and Class Members’ rights.

           197.   As a direct and proximate result of Defendant’s unfair, unlawful, and deceptive acts

and practices, Plaintiff and Class Members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including,

but not limited to:




564689.1                                           56
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 57 of 69 PageID #:57




             a.     Actual identity theft and current and ongoing risk of identity fraud;

             b.     Loss of the opportunity to control how their Sensitive Information is used;

             c.     The compromise, publication, and/or theft of their Sensitive Information;

             d.     Out-of-pocket expenses associated with the prevention, detection,

                    and recovery from identity theft and/or unauthorized use of their Sensitive

                    Information;

             e.     Lost opportunity costs associated with the effort expended and the loss of

                    productivity addressing and attempting to mitigate the actual and future

                    consequences of the Data Breach, including but not limited to efforts spent

                    researching how to prevent, detect, contest, and recover from identity theft,

                    placing “freezes” and “alerts” with credit reporting agencies, contacting

                    their financial institutions, closing or modifying financial accounts, closely

                    reviewing and monitoring their credit reports and various accounts for

                    unauthorized activity, and filing police reports;

             f.     The current and ongoing risk to their Sensitive Information, which remains

                    in Defendant’s possession and is subject to further unauthorized disclosures

                    so long as Defendant fails to undertake appropriate and adequate measures

                    to protect Plaintiff’s and Class Members’ Sensitive Information in

                    Defendant’s continued possession;

             g.     Future costs in terms of time, effort, and money that will be expended to

                    prevent, detect, contest, and repair the impact of the Sensitive Information

                    accessed and acquired as a result of the Data Breach—which may take

                    months if not years to discover, detect, and remedy;




564689.1                                      57
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 58 of 69 PageID #:58




                  h.     Future out-of-pocket expenses associated with paying for fraudulent

                         charges resulting from identity theft, and/or unauthorized use of their

                         Sensitive Information;

                  i.     The diminished value of their Sensitive Information;

                  j.     Other economic harm;

                  k.     Emotional distress; and

                  l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                         and expenses.

           198.   Plaintiff and Class Members seek all monetary and non–monetary relief allowed

by law, including damages, restitution, nominal and punitive damages, injunctive relief, and

reasonable attorneys’ fees and costs.

                                              COUNT IX
                  Violation of the Illinois Uniform Deceptive Trade Practices Act,
                                       815 ILCS §§ 510/2, et seq.
                           (On Behalf of Plaintiff and the National Class)

           199.   Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           200.   This claim is brought under the laws of Illinois and on behalf of all other natural

persons whose Sensitive Information was compromised as a result of the Data Breach and reside

in states having similar laws regarding deceptive trade practices.

           201.   Defendant is a “person” as defined by 815 Ill. Comp. Stat. §§ 510/1(5).

           202.   Defendant engaged in deceptive trade practices in the conduct of its business, in

violation of 815 Ill. Comp. Stat. §§ 510/2(a), including:

                  a.     Representing that goods or services have characteristics that they do

                         not have;




564689.1                                           58
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 59 of 69 PageID #:59




                  b.     Representing that goods or services are of a particular standard, quality, or

                         grade if they are of another;

                  c.     Advertising goods or services with intent not to sell them as

                         advertised; and

                  d.     Engaging in other conduct that creates a likelihood of confusion or

                         misunderstanding.

           203.   Defendant’s deceptive trade practices include:

                  a.     Failing to implement and maintain reasonable security and privacy

                         measures to protect Plaintiff’s and Class Members’ Sensitive Information,

                         which was a direct and proximate cause of the Data Breach;

                  b.     Failing to identify foreseeable security and privacy risks, remediate

                         identified security and privacy risks, and adequately improve security and

                         privacy, which was a direct and proximate cause of the Data Breach;

                  c.     Failing to comply with common law and statutory duties pertaining to the

                         security and privacy of Plaintiff’s and Class Members’ Sensitive

                         Information, including duties imposed by FCRA, FTC Act, Illinois laws

                         regulating the use and disclosure of Social Security Numbers, 815 Ill.

                         Comp. Stat § 505/2RR, the Personal Information Protection Act, 815 Ill.

                         Comp. Stat § 530, and the Illinois Uniform Deceptive Trade Practices Act,

                         815 Ill. Comp. Stat. § 510/2(a), which was a direct and proximate cause of

                         the Data Breach;




564689.1                                           59
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 60 of 69 PageID #:60




             d.     Misrepresenting that it would protect the privacy and confidentiality of

                    Plaintiff’s and Class Members’ Sensitive Information, including by

                    implementing and maintaining reasonable security measures;

             e.     Misrepresenting that it would comply with common law and statutory duties

                    pertaining to the security and privacy of Plaintiff’s and Class Members’

                    Sensitive Information, including duties imposed by the FCRA, FTC Act,

                    Illinois laws regulating the use and disclosure of Social Security Numbers,

                    815 Ill. Comp. Stat § 505/2RR, the Personal Information Protection Act,

                    815 Ill. Comp. Stat § 530, and the Illinois Uniform Deceptive Trade

                    Practices Act, 815 Ill. Comp. Stat. § 510/2(a);

             f.     Failing to timely and adequately notify Plaintiff and Class Members of the

                    Data Breach;

             g.     Omitting, suppressing, and concealing the material fact that it did not

                    reasonably or adequately secure Plaintiff’s and Class Members’ Sensitive

                    Information;

             h.     Omitting, suppressing, and concealing the material fact that it did not

                    comply with common law and statutory duties pertaining to the security and

                    privacy of Plaintiff’s and Class Members’ Sensitive Information, including

                    duties imposed by the FCRA, FTC Act, Illinois laws regulating the use and

                    disclosure of Social Security Numbers, 815 Ill. Comp. Stat § 505/2RR, the

                    Personal Information Protection Act, 815 Ill. Comp. Stat § 530, and the

                    Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.

                    § 510/2(a).




564689.1                                     60
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 61 of 69 PageID #:61




           204.   Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Defendant’s data security and ability to

protect the confidentiality of Plaintiff’s and Class Members’ Sensitive Information.

           205.   Defendant’s representations and omissions were material because they were likely

to deceive reasonable consumers, including Plaintiff and Class Members, into believing that their

Sensitive Information would not be exposed to unauthorized parties.

           206.   The above unfair and deceptive practices and acts by Defendant offend and violate

public policy. These acts caused substantial injury to Plaintiff and Class Members that they could

not reasonably avoid; this substantial injury outweighed any benefits to consumers or to

competition.

           207.   As a direct and proximate result of Defendant’s unfair, unlawful, and deceptive

trade practices, Plaintiff and Class Members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non–monetary damages, including,

but not limited to:

                  a.     Actual identity theft and current and ongoing risk of identity fraud;

                  b.     Loss of the opportunity to control how their Sensitive Information is used;

                  c.     The compromise, publication, and/or theft of their Sensitive Information;

                  d.     Out-of-pocket expenses associated with the prevention, detection,

                         and recovery from identity theft and/or unauthorized use of their Sensitive

                         Information;

                  e.     Lost opportunity costs associated with the effort expended and the loss of

                         productivity addressing and attempting to mitigate the actual and future

                         consequences of the Data Breach, including but not limited to efforts spent




564689.1                                          61
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 62 of 69 PageID #:62




                    researching how to prevent, detect, contest, and recover from identity theft,

                    placing “freezes” and “alerts” with credit reporting agencies, contacting

                    their financial institutions, closing or modifying financial accounts, closely

                    reviewing and monitoring their credit reports and various accounts for

                    unauthorized activity, and filing police reports;

             f.     The current and ongoing risk to their Sensitive Information, which remains

                    in Defendant’s possession and is subject to further unauthorized disclosures

                    so long as Defendant fails to undertake appropriate and adequate measures

                    to protect Plaintiff’s and Class Members’ Sensitive Information in

                    Defendant’s continued possession;

             g.     Future costs in terms of time, effort, and money that will be expended to

                    prevent, detect, contest, and repair the impact of the Sensitive Information

                    accessed and acquired as a result of the Data Breach—which may take

                    months if not years to discover, detect, and remedy;

             h.     Future out-of-pocket expenses associated with paying for fraudulent

                    charges resulting from identity theft, and/or unauthorized use of their

                    Sensitive Information;

             i.     The diminished value of their Sensitive Information;

             j.     Other economic harm;

             k.     Emotional distress; and

             l.     The necessity to engage legal counsel and incur attorneys’ fees, costs,

                    and expenses.




564689.1                                      62
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 63 of 69 PageID #:63




           208.    Plaintiff and Class Members seek all monetary and non-monetary relief allowed by

law, including injunctive relief and reasonable attorney’s fees.

                                            COUNT X
                  Missouri Merchandising Practices Act, Mo. Stat. § 407.010, et seq.
                         (On Behalf of Plaintiff and the Missouri Subclass)

           209.    Plaintiff incorporates paragraphs 1 through 105 as though fully set forth herein.

           210.    Defendant engaged in unlawful, unfair, and deceptive acts and practices, with

respect to the sale and advertisement of the services in violation of Mo. Stat. § 407.020(1),

including by representing that Defendant would adequately protect Plaintiff’s and Missouri Class

members’ Sensitive Information from unauthorized disclosure and release, and comply with

relevant state and federal privacy laws. These injuries outweigh any benefits to consumers or to

competition.

           211.    The above unfair and deceptive practices and acts by Defendant violate and offend

public policy, and have caused, and will continue to cause substantial injury to Plaintiff and Class

Members.

           212.    Defendant knew or should have known that its data systems and networks did not

adequately safeguard Plaintiff’s and Class Members’ Sensitive Information.

           213.    Defendant’s actions were negligent, knowing and willful, and/or wanton and

reckless with respect to the rights of Plaintiff and the Missouri Class.

           214.    As a direct and proximate result of Defendant’s deceptive acts and practices,

Plaintiff and the Missouri Class suffered an ascertainable loss of money or property, real or

personal, as described above, including the loss of their legally protected interest in the

confidentiality and privacy of their personal information.




564689.1                                            63
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 64 of 69 PageID #:64




           215.   Plaintiff and Missouri Class members seek relief under Mo. Stat. § 407.025,

including, but not limited to injunctive relief, actual damages, nominal damages, punitive damages,

and attorneys’ fees and costs.

                                  VII.   REQUEST FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of the Class(es) proposed in this

Complaint, respectfully requests the Court enter judgment in his favor and against Defendant as

follows:

                  a.    For an Order certifying the Class(es), as defined herein, and appointing

                        Plaintiff and his Counsel to represent the Nationwide Class, or in the

                        alternative the separate Missouri SubClass;

                  b.    For equitable relief enjoining Defendant from engaging in the wrongful

                        conduct complained of herein pertaining to the Data Breach and access and

                        acquisition of Plaintiff’s and Class Members’ Sensitive Information by an

                        unauthorized party, and from failing to issue prompt disclosures to Plaintiff

                        and Class Members;

                  c.    For equitable relief compelling Defendant to use appropriate cyber security

                        methods and policies with respect to Sensitive Information collection,

                        storage, maintenance, analysis, use, and protection;

                  d.    A mandatory injunction directing Defendant to adequately safeguard

                        Plaintiff’s and Class Members’ Sensitive Information by implementing

                        improved security procedures and measures; specifically:

                       i.        Requiring Defendant to protect, including through encryption, all

                                 data collected, maintained, and analyzed through the course of its




564689.1                                          64
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 65 of 69 PageID #:65




                          business in accordance with all applicable regulations, industry

                          standards, and federal, state, or local laws;

                  ii.     Requiring Defendant to delete, destroy, and purge the Sensitive

                          Information of Plaintiff and the Class Members unless Defendant

                          can provide to the Court reasonable justification for the retention

                          and use of such information when weighed against the privacy

                          interests of Plaintiff and the Class Members;

                 iii.     Requiring Defendant to implement and maintain a comprehensive

                          Information    Security    Program      designed   to     protect   the

                          confidentiality and integrity of Plaintiff’s and Class Members’

                          Sensitive Information;

                 iv.      Prohibiting Defendant from maintaining Plaintiff’s and Class

                          Members’ Sensitive Information on a cloud-based database;

                  v.      Requiring Defendant to engage independent third-party security

                          auditors/penetration testers as well as internal security personnel to

                          conduct testing, including simulated attacks, penetration tests, and

                          audits on Defendant’s systems on a periodic basis, and ordering

                          Defendant to promptly correct any problems or issues detected by

                          such third-party security auditors;

                 vi.      Requiring     Defendant     to   engage     independent     third-party

                          security auditors and internal personnel to run automated

                          security monitoring;




564689.1                                    65
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 66 of 69 PageID #:66




                 vii.     Requiring Defendant to audit, test, and train its security personnel

                          regarding any new or modified procedures;

                viii.     Requiring Defendant to segment data by, among other things,

                          creating firewalls and access controls so that if one area of

                          Defendant’s network is compromised, hackers cannot gain access to

                          other portions of Defendant’s systems;

                 ix.      Requiring Defendant to conduct regular database scanning and

                          security checks;

                  x.      Requiring Defendant to establish an information security training

                          program that includes at least annual information security training

                          for all employees, with additional training to be provided as

                          appropriate based upon the employees’ respective responsibilities

                          with handling Sensitive Information, as well as protecting Plaintiff’s

                          and Class Members’ Sensitive Information;

                 xi.      Requiring Defendant to routinely and continually conduct internal

                          training and education, and on an annual basis to inform internal

                          security personnel how to identify and contain a breach when it

                          occurs and what to do in response to a breach;

                 xii.     Requiring Defendant to implement a system of tests to assess its

                          respective employees’ knowledge of the education programs

                          discussed in the preceding subparagraphs, as well as randomly and

                          periodically       testing    employees’         compliance      with




564689.1                                     66
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 67 of 69 PageID #:67




                          Defendant’s policies, programs, and systems for protecting

                          Sensitive Information;

                xiii.     Requiring Defendant to implement, maintain, regularly review, and

                          revise as necessary a threat management program designed to

                          appropriately monitor Defendant’s information networks for threats,

                          both internal and external, and assess whether monitoring tools are

                          appropriately configured, tested, and updated;

                xiv.      Requiring Defendant to meaningfully educate all Class Members

                          about the threats they face as a result of the loss of their confidential

                          Sensitive Information to third parties, as well as the steps affected

                          individuals must take to protect themselves;

                 xv.      Requiring Defendant to implement logging and monitoring

                          programs sufficient to track traffic to and from Defendant’s servers;

                xvi.      For a period of 10 years, appointing a qualified and independent

                          third-party assessor to conduct a System and Organization Controls

                          (“SOC”) 2 Type 2 attestation on an annual basis to evaluate

                          Defendant’s compliance with the terms of the Court’s final

                          judgment, to provide such report to the Court and to counsel for the

                          class, and to report any deficiencies with compliance of the Court’s

                          final judgment;

                xvii.     Requiring Defendant to design, maintain, and test its computer

                          systems to ensure Sensitive Information in its possession is

                          adequately secured and protected;




564689.1                                    67
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 68 of 69 PageID #:68




                  xviii.         Requiring Defendant to disclose any future data breaches in a timely

                                 and accurate manner;

                   xix.          Requiring       Defendant        to     implement       multi–factor

                                 authentication requirements;

                    xx.          Requiring Defendant’s employees to change their passwords on a

                                 timely and regular basis, consistent with best practices; and

                   xxi.          Requiring Defendant to provide lifetime credit monitoring and

                                 identity theft repair services to Class Members.

             e.           An award of other declaratory, injunctive, and equitable relief as is

                          necessary to protect the interests of Plaintiff and Class Members;

             f.           An award of restitution; compensatory, consequential, and general damages

                          to Plaintiff and Class Members, including nominal damages as allowed by

                          law in an amount to be determined at trial or by this Court;

             g.           An award of actual or statutory damages to Plaintiff and Class Members in

                          an amount to be determined at trial or by this Court;

             h.           An award of reasonable litigation expenses and costs and attorneys’ fees to

                          the extent allowed by law;

             i.           An award of pre– and post–judgment interest to Plaintiff and Class

                          Members, to the extent allowable; and

             j.           Award such other and further relief as equity and this Court may deem just

                          and proper.




564689.1                                           68
     Case: 1:21-cv-06836 Document #: 1 Filed: 12/22/21 Page 69 of 69 PageID #:69




                                   VIII. JURY TRIAL DEMANDED

           Plaintiff requests a trial by jury on all issues so triable.

                       NOTICE TO THE ILLINOIS ATTORNEY GENERAL

           A copy of this Complaint will be mailed to the Illinois Attorney General.


 Dated: December 22, 2021                              Respectfully submitted,

                                                       LOCKRIDGE GRINDAL NAUEN P.L.L.P.

                                                       s/Kyle J. Pozan
                                                       Karen Hanson Riebel (pro hac vice forthcoming)
                                                       Kate M. Baxter-Kauf (pro hac vice forthcoming)
                                                       Kyle Pozan (IL Bar No. 6306761)
                                                       100 Washington Avenue South, Suite 2200
                                                       Minneapolis, MN 55401
                                                       Telephone: 612.339.6900
                                                       Facsimile: 612.339.0981
                                                       kjpozan@locklaw.com
                                                       khriebel@locklaw.com
                                                       kmbaxter-kauf@locklaw.com

                                                       Gayle M. Blatt (pro hac vice forthcoming)
                                                       CASEY GERRY SCHENK
                                                        FRANCAVILLA BLATT & PENFIELD, LLP
                                                       110 Laurel Street
                                                       San Diego, CA 92101
                                                       Telephone: 619.238.1811
                                                       Facsimile: 619.544.9232
                                                       gmb@cglaw.com

                                                       Attorneys for Plaintiff and the Class




564689.1                                               69
